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WEIL, GOTSHAL & MANGES LLP                                       HUNTON ANDREWS KURTH LLP
Ray C. Schrock, P.C. (pro hac vice admission pending)            Tyler P. Brown (VSB No. 28072)
Ryan P. Dahl (pro hac vice admission pending)                    Henry P. (Toby) Long, III (VSB No. 75134)
Candace M. Arthur (pro hac vice admission pending)               Nathan Kramer (VSB No. 87720)
Daniel Gwen (pro hac vice admission pending)                     Riverfront Plaza, East Tower
767 Fifth Avenue                                                 951 East Byrd Street
New York, New York 10153                                         Richmond, Virginia 23219
Telephone: (212) 310-8000                                        Telephone: (804) 788-8200
Facsimile: (212) 310-8007                                        Facsimile: (804) 788-8218

Proposed Attorneys for Debtors and Debtors in Possession

                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :         Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :         Case No. 20– ________
                                                             :
                                    Debtors.   1             :         (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x

                        MOTION OF DEBTORS FOR
            ENTRY OF INTERIM AND FINAL ORDERS ESTABLISHING
         NOTIFICATION PROCEDURES AND APPROVING RESTRICTIONS
       ON CERTAIN TRANSFERS OF INTERESTS IN, AND CLAIMS AGAINST,
    THE DEBTORS AND CLAIMS OF CERTAIN WORTHLESS STOCK DEDUCTIONS




1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
     Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
     Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
     International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
     (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
     Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
     headquarters and service address is 225 Liberty St., New York, NY 10281.




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                  Chinos Holdings, Inc. (“Chinos”) and its debtor affiliates, as debtors and debtors

in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), respectfully

represent as follows in support of this motion (the “Motion”): 2

                                               Relief Requested

                  1.       By this Motion, pursuant to sections 105(a) and 362 of title 11 of the United

States Code (the “Bankruptcy Code”), the Debtors request entry of interim and final orders

authorizing the Debtors to establish procedures (collectively, the “Procedures,” including the

Stock Procedures and Claims Procedures, each as defined below) to protect the potential value of

the Debtors’ federal consolidated net operating losses (the “NOLs”), carryforwards of disallowed

business interest expense, carryforwards of unused general business credits, and other tax benefits

(collectively, the “Tax Attributes”) for use in connection with the reorganization of the Debtors

and in future periods. The Stock Procedures apply to (i) beneficial ownership of the common stock

of Chinos (the “Common Stock”), Class A preferred stock of Chinos (“Class A Preferred

Stock”) and Class B preferred stock of Chinos (“Class B Preferred Stock”) (together with the

Common Stock, the “Chinos Stock”) and any options or similar rights (within the meaning of

applicable Treasury Regulations (as defined herein)) to acquire such stock or interest (the

“Options”), and (ii) any claim (for U.S. federal income tax reporting purposes) of a worthless

stock deduction under section 165(g) of title 26 of the United States Code (the “Tax Code”) with

respect to Chinos Stock (a “Worthless Stock Deduction”) by a Majority Stockholder (as defined

herein). If and to the extent determined necessary, the Debtors may seek to implement the Claims

Procedures applicable to claims (each, as defined in section 101(5) of the Bankruptcy Code, a


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    The facts and circumstances supporting the relief requested herein are set forth in the First Day Declaration (as
    defined herein) filed contemporaneously herewith. Any capitalized terms used but not defined herein shall have
    the respective meanings ascribed to such terms in the First Day Declaration.



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“Claim”) against one or more of the Debtors. The Debtors request that the Court enter the

Proposed Orders (as defined herein) granting the relief requested herein effective as of the date

hereof.

                  2.       A proposed form of order granting the relief requested herein on an interim

basis is annexed hereto as Exhibit A (the “Proposed Interim Order”), and a proposed form of

order granting the relief requested herein on a final basis is annexed hereto as Exhibit B (the

“Proposed Final Order” and, together with the Proposed Interim Order, the “Proposed Orders”).

                                              Jurisdiction

                  3.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§ 157(b) and 1334, and the Standing Order of Reference from the United States District Court for

the Eastern District of Virginia, dated July 10, 1984. This proceeding is core pursuant to 28 U.S.C.

§ 157(b) and may be determined by the Court. Venue is proper before this Court pursuant to 28

U.S.C. §§ 1408 and 1409.

                                              Background

                  4.       On the date hereof (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized

to continue operating their businesses and managing their properties as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner, or statutory

committee has been appointed in these chapter 11 cases.

                  5.       Contemporaneously herewith, the Debtors have filed a motion requesting

joint administration of their chapter 11 cases pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of the

United States Bankruptcy Court for the Eastern District of Virginia (the “Local Bankruptcy

Rules”).


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                  6.       Additional information regarding the Debtors’ businesses, capital structure,

and the circumstances leading to the commencement of these chapter 11 cases is set forth in the

Declaration of Michael J. Nicholson in Support of Debtors’ Chapter 11 Petitions and First Day

Relief (the “First Day Declaration”), filed contemporaneously herewith and incorporated herein

by reference.

                                       The Debtors’ Tax Attributes

                  7.       The Debtors possess certain Tax Attributes, including, as of February 1,

2020, carryforwards of disallowed business interest expense of approximately (and not less than)

$148 million and carryforwards of unused general business credits of approximately (and not less

than) $1.3 million, and book losses before interest expense for the current tax year estimated as of

the Petition Date, which are expected to result in NOLs, of $180 million. 3 The Tax Attributes are

valuable assets of the Debtors’ estates. The Tax Code generally permits a corporation to carry

forward its NOLs, disallowed business interest expense, and unused general business credits to

reduce taxable income, thereby reducing such corporation’s tax liability in future periods. See 26

U.S.C. §§ 39, 163(j) and 172. Accordingly, absent any existing or intervening limitations and

depending on future operating results, the Tax Attributes are valuable assets that could reduce the

Debtors’ U.S. federal income tax liability for current and future periods, including during the

pendency of these chapter 11 cases, in connection with the implementation of the Debtors’ chapter

11 plan, and in taxable years thereafter. The Tax Attributes, therefore, could translate into future




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    The amounts provided may be affected by certain amended tax returns contemplated to be filed by the Debtors in
    order to benefit from the Coronavirus Aid, Relief, and Economic Security Act (CARES Act), Pub. L. No. 116-
    136. In addition, on April 30, 2020, the Debtors received a notice of proposed adjustment from the Internal
    Revenue Service, proposing an upward adjustment to the Debtors’ taxable income for U.S. federal income tax
    purposes of approximately $45 million, but given that the Debtors intend to contest in good faith the proposed
    adjustment, no portion of such amount has been taken into account in computing the Tax Attributes or prepetition
    tax liabilities.



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tax savings over time, and any such savings could enhance the Debtors’ cash position for the

benefit of the Debtors and all parties in interest.

                  8.       The Debtors’ ability to utilize the Tax Attributes to reduce future tax

liability is subject to certain potential statutory limitations. Sections 382 and 383 of the Tax Code

limit a corporation’s ability to utilize its NOLs, carryforwards of disallowed business interest

expense, carryforwards of unused general business credits, and certain other tax benefits to offset

income once that corporation has undergone an “ownership change” within the meaning of section

382 of the Tax Code (an “Ownership Change”). Pursuant to section 382 of the Tax Code, an

Ownership Change generally occurs when the percentage of a corporation’s equity held by one or

more of its “5-percent shareholders” (each, as that term is used in section 382 of the Tax Code, a

“5-Percent Shareholder”) increases by more than fifty (50) percentage points above the lowest

percentage of the corporation’s equity owned by such shareholder(s) at any time during the

relevant testing period (usually three years). See id. § 382(g).

                  9.       Further, section 382(g)(4)(D) of the Tax Code generally provides that if

(a) a 50-percent shareholder (which includes a shareholder who owns or owned, as determined for

tax purposes, at least fifty percent (50%) of the stock at any time during the applicable three-year

period) in a corporation claims a worthless stock deduction with respect to such stock during any

taxable year and (b) the stock with respect to which such worthless stock deduction is taken is held

by the shareholder at the end of such taxable year, then the shareholder is treated as having acquired

such stock on the first day of the shareholder’s next taxable year and is treated as never having

owned such stock during any prior year for purposes of testing whether an Ownership Change has

occurred. Thus, an Ownership Change occurs where a 50-percent shareholder claims a Worthless

Stock Deduction with respect to its ownership of the stock.




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                  10.      The Debtors do not believe that an Ownership Change has occurred with

respect to the Tax Attributes. Accordingly, the Debtors believe that they have Tax Attributes that

would be adversely affected by the occurrence of an Ownership Change during the pendency of

these chapter 11 cases. If such an Ownership Change was to occur, the availability and value of

such Tax Attributes would be adversely impacted. Therefore, it is in the best interests of the

Debtors and their stakeholders to restrict both the trading of Chinos Stock and any claim of a

Worthless Stock Deduction that could result in an Ownership Change occurring before the

effective date of a chapter 11 plan or any other applicable court order. Such a restriction would

protect the Debtors’ ability to use the Tax Attributes during the pendency of these chapter 11 cases,

in connection with a reorganization transaction, or, potentially, in taxable years following the

effective date of a chapter 11 plan. Accordingly, pursuant to this Motion, the Debtors seek to put

in place the Stock Procedures in order to monitor and potentially restrict acquisitions, dispositions

and trading of Chinos Stock, as well as claims of Worthless Stock Deductions by any Majority

Shareholder.

                  11.      In the event of a pre-effective date Ownership Change, the resulting

limitation on the Debtors’ Tax Attributes primarily depends on the value of the Chinos Stock at

such time. Although (as described below) the limitations imposed by section 382 of the Tax Code

may be significantly less restrictive when an Ownership Change occurs pursuant to a confirmed

chapter 11 plan (or any applicable court order), the benefits available under section 382 of the Tax

Code in connection with a confirmed chapter 11 plan (or any applicable court order) are not applied

retroactively to reduce the limitations imposed on a corporation’s ability to utilize its tax benefits

resulting from a previous Ownership Change (such as an Ownership Change occurring prior to or

during the pendency of a chapter 11 case). See id. § 382(l)(5), (6).




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                  12.      A chapter 11 plan that contemplates a reorganization of the Debtors may

involve the issuance of new common stock in Chinos (or any successor to Chinos) and the

distribution of such stock to certain creditors in satisfaction, in whole or in part, of their respective

Claims. This issuance and distribution could also potentially result in an Ownership Change. As

described more fully in the First Day Declaration and the TSA, it is currently contemplated that as

part of a chapter 11 plan, among other things, certain long-term principal creditors of the Debtors

will exchange their Claims against the Debtors for a majority interest of the equity in the

reorganized Debtors. Therefore, it is possible that the special relief afforded by section 382(l)(5)

of the Tax Code could be both available and beneficial to the Debtors; the Debtors, in that

circumstance, may seek to qualify the restructuring for such relief. Such relief, however, may

become unavailable to the Debtors if certain procedures relating to the trading and accumulation

of certain Claims after the Petition Date and prior to the effective date of a chapter 11 plan are not

effective as of the Petition Date. Accordingly, the Debtors intend to provide notice to holders of

Claims that if and to the extent determined necessary, the Debtors may seek an order of the Court

to implement the Claims Procedures to monitor the trading and accumulation of Claims against

the Debtors (a “Claims Procedures Order”), and that subsequent court orders in connection

therewith could require that a purchaser of certain Claims (after the Petition Date) resell some or

all of such Claims.

                               The Proposed Procedures Applicable to Chinos Stock

                  13.      By establishing the Procedures for monitoring the transfer of, and claims of

Worthless Stock Deductions by a Majority Stockholder (as defined below) with respect to, Chinos

Stock (including indirect ownership of, and Options to acquire, Chinos Stock) (the “Stock

Procedures”), the Debtors can preserve their ability to seek the necessary relief if it appears that




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any such transfer(s) or claim(s) may jeopardize the Debtors’ ability to utilize their Tax Attributes.

The following are certain principal provisions of the proposed Stock Procedures: 4

              i.     Definitions. For purposes of these Stock Procedures, the following terms
have the following meanings:

                    1. “Entity” has the meaning as such term is defined in section 1.382-3(a) of
title 26 of the Code of Federal Regulations (the “Treasury Regulations”), including any group of
persons acting pursuant to a formal or informal understanding among themselves to make a
coordinated acquisition of Chinos Stock.

                    2. “Beneficial ownership” of Chinos Stock and Options to acquire Chinos
Stock shall be determined in accordance with applicable rules under section 382 of the Tax Code,
Treasury Regulations, and rulings issued by the Internal Revenue Service (the “IRS”), and thus,
to the extent provided in those sources, from time to time shall include, without limitation,
(A) direct and indirect ownership, determined without regard to any rule that treats stock of an
entity as to which the constructive ownership rules apply as no longer owned by that entity (e.g.,
a holding company would be considered to beneficially own all stock owned or acquired by its
subsidiaries), (B) ownership by a holder’s family members, (C) ownership by any Entity, and (D)
to the extent set forth in Treasury Regulations section 1.382-4, the ownership of an Option to
acquire beneficial ownership of Chinos Stock.

                   3. “Substantial Stockholder” shall mean any person or Entity that
beneficially owns at least 5,348,600 shares of Common Stock (representing approximately 4.75%
of all issued and outstanding shares of Common Stock), 9,600 shares of Class A Preferred Stock
(representing approximately 4.75% of all issued and outstanding shares of Class A Preferred
Stock), or 6,000 shares of Class B Preferred Stock (representing approximately 4.75% of all issued
and outstanding shares of Class B Preferred Stock).

                   4. “Majority Stockholder” shall mean any person that would be a “50-
percent shareholder” (within the meaning of section 382(g)(4)(D) of the Tax Code) of Chinos
Stock if such person claimed a Worthless Stock Deduction at any time on or after the Petition Date.

                  5. “Worthless Stock Deduction” shall mean any claim (for U.S. federal
income tax reporting purposes) of a worthless stock deduction under section 165(g) of the Tax
Code with respect to beneficial ownership of Chinos Stock.

            ii.        Notice of Substantial Ownership. Any person or Entity that beneficially
owns, at any time on or after the Petition Date, Chinos Stock in an amount sufficient to qualify
such person or Entity as a Substantial Stockholder shall file with this Court and serve upon (i) the
Debtors, 225 Liberty Street, 17th Floor, New York, NY 10281 (Attn: Maria Di Lorenzo); (ii)
proposed counsel for the Debtors, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York,
New York 10153 (Attn: Ray C. Schrock, P.C.; Ryan P. Dahl, Esq.; Candace M. Arthur, Esq. and

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    The Procedures delineated herein summarize the relevant portion of Exhibit 1 to the Proposed Orders, which sets
    forth the Procedures.



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Daniel Gwen, Esq.); (iii) proposed co-counsel for the Debtors: Hunton Andrews Kurth LLP,
Riverfront Plaza, East Tower, 951 East Byrd Street, Richmond, Virginia 23219 (Attn: Tyler P.
Brown, Esq., Henry P. (Toby) Long, III, Esq., and Nathan Kramer, Esq.); (iv) counsel to any
statutory committee of unsecured creditors appointed in these cases (a “Creditors’ Committee”);
(v) counsel to the Ad Hoc Committee, Milbank LLP (Attn: Dennis F. Dunne, Esq.
(DDunne@milbank.com), Samuel A. Khalil, Esq. (SKhalil@milbank.com) and Matthew A. Brod,
Esq. (MBrod@milbank.com)); and (vi) counsel to the Sponsors (collectively, the “Disclosure
Parties”) a notice of such person’s or Entity’s substantial ownership (a “Substantial Stock
Ownership Notice”), in substantially the form annexed to the Proposed Orders as Exhibit 2,
which describes specifically and in detail such person’s or Entity’s ownership of Chinos Stock, on
or before the date that is the later of (x) twenty (20) calendar days after the entry of an order
granting the relief requested in this Motion, and (y) ten (10) business days after such person or
Entity qualifies as a Substantial Stockholder. At the election of the Substantial Stockholder, the
Substantial Stock Ownership Notice to be filed with the Court (but not the Substantial Stock
Ownership Notice that is served upon the Debtors and counsel and co-counsel to the Debtors) may
be redacted to exclude the Substantial Stockholder’s taxpayer identification number and the
amount of Chinos Stock that the Substantial Stockholder beneficially owns.

             iii.      Acquisition of Chinos Stock. At least fifteen (15) business days prior to the
proposed date of any transfer of Chinos Stock (including indirectly or through the issuance or
transfer of Options to acquire Chinos Stock) or exercise of any Option to acquire Chinos Stock
that would result in an increase in the amount of Chinos Stock beneficially owned by any person
or Entity that currently is or, as a result of the proposed transaction, would be a Substantial
Stockholder (a “Proposed Acquisition Transaction”), such person or Entity (a “Proposed
Transferee”) shall file with the Court and serve upon the Disclosure Parties a notice of such
Proposed Transferee’s intent to purchase, acquire, or otherwise accumulate Chinos Stock and/or
Options to acquire Chinos Stock (an “Acquisition Notice”), in substantially the form annexed to
the Proposed Orders as Exhibit 3, which describes specifically and in detail the Proposed
Acquisition Transaction. At the election of the Proposed Transferee, the Acquisition Notice to be
filed with the Court (but not the Acquisition Notice that is served upon the Debtors and counsel
and co-counsel to the Debtors) may be redacted to exclude the Proposed Transferee’s taxpayer
identification number and the amount of Chinos Stock that the Proposed Transferee beneficially
owns.

             iv.        Disposition of Chinos Stock. At least fifteen (15) business days prior to the
proposed date of any transfer or other disposition of Chinos Stock (including indirectly or through
the issuance or transfer of Options to acquire Chinos Stock) that would result in either a decrease
in the amount of Chinos Stock beneficially owned by a Substantial Stockholder or a person’s or
Entity’s ceasing to be a Substantial Stockholder (a “Proposed Disposition Transaction” and,
together with a Proposed Acquisition Transaction, a “Proposed Transaction”), such person,
Entity, or Substantial Stockholder (a “Proposed Transferor”) shall file with this Court and serve
upon the Disclosure Parties a notice of such Proposed Transferor’s intent to sell, trade, or otherwise
transfer Chinos Stock or Options to acquire Chinos Stock (a “Disposition Notice” and, together
with an Acquisition Notice, a “Trading Notice”), in substantially the form annexed to the
Proposed Orders as Exhibit 4, which describes specifically and in detail the Proposed Disposition
Transaction. At the election of the Substantial Stockholder, the Disposition Notice to be filed with
the Court (but not the Disposition Notice that is served upon the Debtors and counsel and co-


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counsel to the Debtors) may be redacted to exclude the Substantial Stockholder’s taxpayer
identification number and the amount of Chinos Stock that the Substantial Stockholder beneficially
owns.

             v.        Notice of Status as a Majority Stockholder. Any person or Entity that
currently is or becomes a Majority Stockholder shall file with the Court and serve upon the
Disclosure Parties a notice of such status (a “Majority Stockholder Notice”), in substantially the
form annexed to the Proposed Orders as Exhibit 5, which describes specifically and in detail such
person’s beneficial ownership of Chinos Stock, on or before the date that is the later of (x) twenty
(20) calendar days after the entry of an order granting the relief requested in this Motion and (y)
ten (10) business days after such person qualifies as a Majority Stockholder. At the election of the
Majority Stockholder, the Majority Stockholder Notice to be filed with the Court (but not the
Majority Stockholder Notice that is served upon the Debtors and counsel and co-counsel to the
Debtors) may be redacted to exclude the Majority Stockholder’s taxpayer identification number.

             vi.       Notice of Intent to Claim a Worthless Stock Deduction. At least fifteen (15)
business days before a Majority Stockholder files any federal income tax return, or any amendment
to such a return, claiming a Worthless Stock Deduction for a tax year of the Majority Stockholder
ending on or before the effective date of a chapter 11 plan of reorganization for the Debtors, such
Majority Stockholder shall file with the Court and serve upon the Disclosure Parties advanced
written notice of the intended Worthless Stock Deduction (a “Worthless Stock Deduction
Notice”), in substantially the form annexed to the Proposed Orders as Exhibit 6. At the election
of the Majority Stockholder, the Worthless Stock Deduction Notice to be filed with the Court (but
not the Worthless Stock Deduction Notice that is served upon the Debtors and counsel and co-
counsel to the Debtors) may be redacted to exclude the Majority Stockholder’s taxpayer
identification number.

            vii.       Objection Procedures. The Debtors, in reasonable consultation with the Ad
Hoc Committee, shall have fifteen (15) business days after the filing of a Trading Notice or a
Worthless Stock Deduction Notice (the “Objection Period”) to file with the Court and serve on a
Proposed Transferee or a Proposed Transferor, as the case may be, or a Majority Stockholder, as
applicable, an objection (each, an “Objection”) to any Proposed Transaction described in such
Trading Notice or any Worthless Stock Deduction described in such Worthless Stock Deduction
Notice; provided that the Objection Period and date of any Proposed Transaction or deduction
shall be extended with the consent of the Proposed Transferee, Proposed Transferor, or Majority
Stockholder, such consent not to be unreasonably withheld, conditioned, or delayed. If, after
reasonable consultation with the Ad Hoc Committee, the Debtors file an Objection by the
expiration of the Objection Period including any extension thereof (the “Objection Deadline”),
then the applicable Proposed Transaction or Worthless Stock Deduction shall not be effective
unless approved by a final and nonappealable order of the Court. If, after reasonable consultation
with the Ad Hoc Committee, the Debtors do not file an Objection by the Objection Deadline or
provide written authorization to the Proposed Transferee or the Proposed Transferor, as the case
may be, or the Majority Stockholder, as applicable, approving the Proposed Transaction or the
Worthless Stock Deduction prior to the Objection Deadline, then such Proposed Transaction or
Worthless Stock Deduction may proceed solely as specifically described in the applicable Trading
Notice or Worthless Stock Deduction Notice. Any further Proposed Transaction or Worthless




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Stock Deduction must be the subject of an additional Trading Notice or Worthless Stock Deduction
Notice and Objection Period.

                            The Proposed Procedures Applicable to Claims

                  14.      If and to the extent determined necessary, the Debtors may seek a Claims

Procedures Order to implement procedures for monitoring acquisitions, dispositions and trading

of Claims (the “Claims Procedures”) so that the Debtors can preserve their ability to seek

necessary relief if it appears that any such acquisition(s) or disposition(s) of Claims may impair

the Debtors’ ability to utilize the Tax Attributes. The following are certain principal provisions of

the proposed Claims Procedures: 5

                i.         Disclosure with respect to Section 385(l)(5)

                   1. If the Debtors determine that the reorganized Debtors likely could qualify
for and benefit from the application of section 382(l)(5) of the Tax Code and reasonably anticipate
that the reorganized Debtors (or any successors thereto) (the “Post-Emergence Chinos”) will
invoke such section, then the Debtors shall disclose the following in a disclosure statement (the
“Proposed 382(l)(5) Disclosure Statement”):

                      a.      Adequate information about the incremental tax benefits anticipated
to be realized through the use of section 382(l)(5) of the Tax Code that, taking into account the
Debtors’ anticipated net unrealized built-in gains or net unrealized built-in losses, would not
otherwise be available;

                        b.       A summary of any restrictions expected to be imposed on the
transferability of securities issued under the Debtors’ plan of reorganization in order to preserve
such incremental tax benefits;

                       c.      The dollar amount of Claims (by class or other applicable
classification) expected to result in a one-percent (1%) interest in the equity of Post-Emergence
Chinos (the “New Stock”) based upon then available information;

                      d.       A specified date (the “Determination Date”) that is not less than
ten (10) calendar days after the service of the notice of the hearing with respect to the Proposed
382(l)(5) Disclosure Statement; and

                       e.       A specified date (the “Reporting Deadline”) that is not less than
five (5) calendar days after the Determination Date, by which persons or entities (each, as defined

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    The complete proposed Claims Procedures are set forth in Exhibit 1 to the Proposed Final Order, and incorporated
    herein by reference.



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within the meaning of Treasury Regulations section 1.382-3(a), an “Entity”) must serve on the
Disclosure Parties the notice required by these Procedures.

               ii.         Claims Trading Before and After the Determination Date

                  1. Any person or Entity generally may trade freely and make a market in
Claims until the Determination Date.

                     2. After the Determination Date, any acquisition of Claims by a person or
Entity that filed or was required to file a Notice of Substantial Claim Ownership or by a person or
Entity that would be required to file a Notice of Substantial Claim Ownership as a result of the
consummation of the contemplated transaction if the proposed acquisition date had been the
Determination Date (each such person, a “Proposed Claims Transferee”), shall not be effective
unless consummated in compliance with these Claims Procedures.

                    3. At least twenty (20) business days prior to the proposed date of any
acquisition of Claims by a Proposed Claims Transferee (such acquisition, a “Proposed Claims
Acquisition Transaction”), such Proposed Claims Transferee shall serve upon the Disclosure
Parties a notice of such Proposed Claims Transferee’s request to purchase, acquire, or otherwise
accumulate a Claim (a “Claims Acquisition Request”), in substantially the form annexed to the
Proposed Final Order as Exhibit 8, which describes specifically and in detail the Proposed Claims
Acquisition Transaction, regardless of whether such transfer would be subject to the filing, notice,
and hearing requirements set forth in Bankruptcy Rule 3001. At the election of the Substantial
Claimholder, the Claims Acquisition Request to be filed with the Court (but not the Claims
Acquisition Request that is served upon the Debtors and counsel and co-counsel to the Debtors)
may be redacted to exclude the Substantial Claimholder’s taxpayer identification number.

                   4. The Debtors may determine whether to approve a Claims Acquisition
Request. If the Debtors do not approve a Claims Acquisition Request in writing within ten (10)
business days after the Claims Acquisition Request is filed with the Court, the Claims Acquisition
Request shall be deemed rejected.

               iii.        Creditor Conduct and Sell-Downs

                    1. To permit reliance by the Debtors on Treasury Regulations section 1.382-
9(d)(3), upon the entry of a Claims Procedures Order, any Substantial Claimholder that
participated in formulating any chapter 11 plan of or on behalf of the Debtors (which shall include,
without limitation, making any suggestions or proposals to the Debtors or their advisors with
regard to such a plan) shall not disclose or otherwise make evident to the Debtors that any Claims
in which such Substantial Claimholder has beneficial ownership are “Newly Traded Claims” (as
defined in paragraph B(i)(13) of Exhibit 1 to the Proposed Final Order), unless compelled to do
so by an order of a court of competent jurisdiction or some other applicable legal requirement,
provided, however, that the following activities shall not constitute participation in formulating a
chapter 11 plan if, in pursuing such activities, the Substantial Claimholder does not disclose or
otherwise make evident (unless compelled to do so by an order of a court of competent jurisdiction
or some other applicable legal requirement) to the Debtors that such Substantial Claimholder has
beneficial ownership of Newly Traded Claims: filing an objection to a proposed disclosure



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statement or to confirmation of a proposed chapter 11 plan; voting to accept or reject a proposed
chapter 11 plan; reviewing or commenting on a proposed business plan; providing information on
a confidential basis to counsel to the Debtors; holding general membership on an official
committee or an ad hoc committee (including the Ad Hoc Committee); or taking any action
required by an order of this Court.

                   2. Following the Determination Date, if the Debtors determine that certain
persons holding Claims must sell or transfer all or a portion of their beneficial ownership of Claims
so that the requirements of section 382(l)(5) of the Tax Code will be satisfied, the Debtors may
file a motion with this Court for entry of an order—after notice to the Disclosure Parties and the
relevant claimholder(s), and a hearing—approving the issuance of a notice (a “Sell-Down Notice”)
that such claimholder(s) must sell, cause to sell, or otherwise transfer a specified amount of its
beneficial ownership of Claims as determined under paragraph B(v)(2) of Exhibit 1 to the
Proposed Final Order.

                    3. Notwithstanding anything to the contrary in this Motion, no claimholder
shall be required to sell, cause to sell, or otherwise transfer beneficial ownership of Claims if such
sale or transfer would result in the claimholder’s beneficial ownership of an aggregate amount of
Claims (by class or other applicable classification) that is less than such claimholder’s “Protected
Amount” (as defined in paragraph B(i)(15) of Exhibit 1 to the Proposed Final Order).

                   4. Each Sell-Down Notice shall direct such claimholder to sell, cause to sell,
or otherwise transfer its beneficial ownership of the amount of Claims specified in the Sell-Down
Notice to certain permitted transferees.

                   5. Any person or Entity that violates its obligations under the Claims
Procedures shall be precluded from receiving any consideration consisting of beneficial ownership
of New Stock that is attributable to the “Excess Amount” (as defined in paragraph B(v)(2) of
Exhibit 1 to the Proposed Final Order) for such person, including any consideration in lieu thereof,
provided; however that such person may be entitled to receive any other consideration to which
such person may be entitled by virtue of holding Claims.

                                   Relief Requested Should Be Granted

A.       The Automatic Stay Bars Any Equity Transfer that Would Diminish or Limit the
         Debtors’ Interests in the Tax Attributes

                  15.      In furtherance of the automatic stay provisions of section 362 of the

Bankruptcy Code and pursuant to section 105 of the Bankruptcy Code, the Debtors seek authority

to monitor and approve (or disapprove) certain changes in the beneficial ownership of, and certain

worthless stock deduction claims with respect to, Chinos Stock or Options to acquire Chinos Stock

to protect against the occurrence of an Ownership Change during the pendency of these chapter




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11 cases, and thereby to preserve the potential value of the Tax Attributes. To the extent relief

under section 382(l)(5) of the Tax Code is determined to be desirable and otherwise available, the

Debtors will seek to implement the Claims Procedures to monitor ownership, approve (or

disapprove) certain transfers of Claims, and/or pursuant to subsequent court orders require the sell

down of certain Claims acquired during these chapter 11 cases to preserve the Tax Attributes.

                  16.      Section 362 of the Bankruptcy Code enjoins all entities from, among other

things, taking any action to obtain possession of property of or from the estate or to exercise control

over property of the estate. Section 541 of the Bankruptcy Code defines “property of the estate”

to include all legal or equitable interests of a debtor in property as of the Petition Date of a chapter

11 case, including tax benefits.

                  17.      The Tax Attributes are valuable property of the Debtors’ estates and thus

are protected, by operation of the automatic stay, from actions that would diminish their value.

Such actions barred by the automatic stay include transfers and pursuing tax deduction claims that

would effect an Ownership Change. It is well established that a debtor’s NOLs are property of the

debtor’s estate protected by the automatic stay. See Official Comm. of Unsecured Creditors v. PSS

S.S. Co. (In re Prudential Lines Inc.), 928 F.2d 565, 574 (2d Cir. 1991) (“[W]here a non-debtor’s

action with respect to an interest that is intertwined with that of a bankrupt debtor would have the

legal effect of diminishing or eliminating property of the bankrupt estate, such action is barred by

the automatic stay.”); Nisselson v. Drew Indus., Inc. (In re White Metal Rolling & Stamping Corp.),

222 B.R. 417, 424 (Bankr. S.D.N.Y. 1998) (“It is beyond peradventure that NOL carrybacks and

carryovers are property of the estate of the loss corporation that generated them.”); In re

Grossman’s Inc., No. 97-695 (PJW), 1997 WL 33446314 (Bankr. D. Del. Oct. 9, 1997). The

United States Court of Appeals for the Second Circuit, in its seminal decision, In re Prudential




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Lines Inc., affirmed the application of the automatic stay to a debtor’s tax benefits and upheld a

permanent injunction prohibiting a parent corporation from taking a worthless stock deduction that

would have adversely affected the ability of the parent corporation’s subsidiary to utilize its NOLs

under the special relief provisions of section 382 of the Tax Code. See 928 F.2d at 573. As the

Second Circuit stated:

                  Including NOL carryforwards as property of a corporate debtor’s estate is
                  consistent with Congress’ intention to “bring anything of value that the
                  debtors have into the estate.” Moreover, . . . [i]ncluding the right to a NOL
                  carryforward as property of [a debtor’s] bankruptcy estate furthers the
                  purpose of facilitating the reorganization of [the debtor].

Id. (quoting H.R. Rep. No. 95-595, at 176 (1978)) (citations omitted); see also In re Fruehauf

Trailer Corp., 444 F.3d 203, 211 (3d Cir. 2006) (“Property of the estate ‘includes all interests,

such as . . . contingent interests and future interests, whether or not transferable by the debtor.’”

(quoting Prudential Lines, 928 F.2d at 572) (alteration in original)); Gibson v. United States (In re

Russell), 927 F.2d 413, 417 (8th Cir. 1991) (concluding that the “right to carry forward the

[debtor’s] NOLs” was a “property interest” of the estate).

                  18.      In Prudential Lines, the Second Circuit determined that, if the parent

corporation were permitted to take a worthless stock deduction, its subsidiary’s ability to carry

forward its NOLs would be adversely impacted. The Second Circuit concluded that “despite the

fact that the [parent corporation’s] action [was] not directed specifically at [the debtor subsidiary],

it [nonetheless was] barred by the automatic stay as an attempt to exercise control over property

of the estate.” Prudential Lines, 928 F.2d at 573–574.

                  19.      In addition to finding that a debtor’s NOLs are protected by the automatic

stay, the Second Circuit also held that, pursuant to its equitable powers under section 105(a) of the

Bankruptcy Code, a bankruptcy court may issue a permanent injunction to protect such NOLs. Id.

at 574.


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                  20.      In In re Phar-Mor, Inc., 152 B.R. 924 (Bankr. N.D. Ohio 1993), the

bankruptcy court applied similar reasoning and granted the debtors’ motion to prohibit transfers

of their stock that could have had an adverse effect on their ability to utilize their NOLs, even

though the debtors’ stockholders had not stated any intent to sell their stock and the debtors had

not shown that a sale that would trigger an Ownership Change was pending. Despite the “ethereal”

nature of the situation, the court observed that “[w]hat is certain is that the NOL has a potential

value, as yet undetermined, which will be of benefit to creditors and will assist debtors in their

reorganization process. See id. at 927. This asset is entitled to protection while [the d]ebtors move

forward toward reorganization.” Id. (emphasis added).

                  21.      The bankruptcy court in Phar-Mor also concluded that, because the debtors

were seeking to enforce the automatic stay, they did not have to meet the more stringent

requirements for preliminary injunctive relief:

                  The requirements for enforcing an automatic stay under 11 U.S.C.
                  § 362(a)(3) do not involve such factors as lack of an adequate remedy at
                  law, or irreparable injury, or loss and a likelihood of success on the merits.
                  The key elements for a stay . . . are the existence of property of the estate
                  and the enjoining of all efforts by others to obtain possession or control of
                  property of the estate.

Id. at 926 (quoting In re Golden Distribs., Inc., 122 B.R. 15, 19 (Bankr. S.D.N.Y. 1990)).

                  22.      Restrictions on equity trading, claims trading and/or worthless stock

deduction claims to protect a debtor against the possible loss of valuable tax attributes are regularly

approved by this and other courts. See, e.g., In re Pier 1 Imports, Inc., No. 20-30805 (KRH)

[Docket No. 400] (Bankr. E.D. Va. Mar. 19, 2020) (approving notification and hearing procedures

related to certain stock transfers and declarations of worthlessness); In re Gemstone Solutions

Group, Inc., No. 19-30258 (KLP) [Docket No. 403] (Bankr. E.D. Va. Feb 22, 2019) (same); In re

Toys “R” Us, Inc., No. 17-34665 (KLP) [Docket No. 728] (Bankr. E.D. Va. Oct. 25, 2017) (same);



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In re Penn Virginia Corp., No. 16-32395 (KLP) [Docket No. 250] (Bankr. E.D. Va. June 9, 2016)

(same); In re Alpha Nat. Res., Inc., No. 15-33896 (KRH) [Docket No. 466] (Bankr. E.D. Va. Sept.

17, 2015) (same); In re Patriot Coal Corp., No. 15-32450 (KLP) [Docket No. 244] (Bankr. E.D.

Va. June 4, 2015) (same); [In re US Airways, Inc., No. 04-13819 (SSM) [Docket No. 2160] (Bankr.

E.D. Va. Apr. 1, 2005) (approving notification procedures and restrictions on certain transfers of

claims against and equity interests in debtors)]; see also, e.g., In re RentPath Holdings, Inc., No.

20-10312 (BLS) [Docket No. 168] (Bankr. D. Del. Feb. 10, 2020) (approving notification

procedures and restrictions on certain transfers of, and claims of worthless stock deductions with

respect to, interests in the debtor’s estate); In re Insys Therapeutics, Inc., No. 19-11292 (KG)

[Docket No. 235] (Bankr. D. Del. July 3, 2019) (approving procedures for monitoring the transfer

of, and claims of worthless stock deductions with respect to, interests in the debtor’s estate); In re

Checkout Holdings Corp., No. 18-12794 (KG) [Docket No. 205] (Bankr. D. Del. Jan. 10, 2019)

(approving notification procedures and restrictions on certain transfers of equity interests in the

debtors); In re Claire’s Stores, Inc., No. 18-10584 (MFW) [Docket No. 284] (Bankr. D. Del. Apr.

17, 2018) (approving procedures for monitoring the transfer of, and claims of worthless stock

deductions with respect to, debtor’s common stock); In re Aéropostale, Inc., No. 16-11275 (SHL)

[Docket No. 240] (Bankr. S.D.N.Y. June 3, 2016) (approving notification procedures and

restrictions on certain transfers of equity interests in the debtors); In re SunEdison, Inc., No. 16-

1992 (SMB) [Docket No. 253] (Bankr. S.D.N.Y. May 12, 2016) (same); In re The Great Atl. &

Pac. Tea Co., No. 15-23007 (RDD) [Docket No. 501] (Bankr. S.D.N.Y. Aug. 11, 2015) (approving

notification procedures and restrictions on certain transfers of equity interests in and Claims

against the debtors).




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                  23.      As these cases demonstrate, it is well settled that, pursuant to section

362(a)(3) of the Bankruptcy Code, the automatic stay enjoins actions that would adversely affect

a debtor’s ability to utilize its NOLs and other tax benefits.

B.       Procedures Are Necessary and in the Best Interests of the Debtors and Their Estates

                  24.      As discussed above, the Debtors anticipate that preserving the availability

of their Tax Attributes is important to avoid the potential incurrence of tax liability during the

pendency of these chapter 11 cases or future tax periods. Consequently, the Debtors believe that

the Stock Procedures should be established as of the Petition Date, to ensure that trading in Chinos

Stock, and claiming certain Worthless Stock Deductions with respect to equity interests in the

Debtors, are either precluded or closely monitored and made subject to Court approval. Further,

if and to the extent the Debtors determine that relief under the Section 382(l)(5) Safe Harbor (as

defined hereinafter) is available and beneficial, the Debtors’ ability to implement a restructuring

that qualifies under section 382(l)(5) of the Tax Code could be seriously impaired unless relevant

parties are notified of the Claims Procedures and the possibility that those procedures will be

utilized.

                  25.      Depending on the Debtors’ tax profile during the pendency of these chapter

11 cases, future earnings, and the consequences of a restructuring, the Debtors’ ability to utilize

the Tax Attributes may enhance the Debtors’ prospects for a successful emergence from chapter

11. The relief requested herein is narrowly tailored to permit certain stock and Claims trading to

continue, subject to Bankruptcy Rule 3001(e) and applicable securities, corporate, and other laws.

                  26.      The Debtors respectfully submit that the Stock Procedures must be

implemented as soon as possible. Even if a transfer or Worthless Stock Deduction claim were to

be null and void under section 362 of the Bankruptcy Code or as a result of a final order of the

Court that prohibited such a transfer or Worthless Stock Deduction claim retroactively to the


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Petition Date, under federal income tax law, such transfer or Worthless Stock Deduction claim

nevertheless may be regarded as having occurred for tax purposes, in which event the Debtors’

estates could suffer an irrevocable loss of value. Accordingly, if a stock transfer or Worthless

Stock Deduction claim occurs that limits the Debtors’ ability to utilize their Tax Attributes under

section 382 or section 383 of the Tax Code, the Debtors’ ability to realize the value of their Tax

Attributes may be permanently diminished. The relief requested, therefore, is crucial to prevent

an irrevocable diminution of the value of the Debtors’ estates.

                  27.      It is in the best interests of the Debtors and their stakeholders to restrict

stock trading and Worthless Stock Deduction claims that could result in an Ownership Change

before the effective date of a chapter 11 plan of reorganization or any applicable court order. This

restriction would permit the Debtors to utilize the Tax Attributes, if necessary, to offset gain or

other income recognized in connection with the Debtors’ ownership of their assets and operation

of their business. If such an Ownership Change were to occur, however, the annual amount of

usable Tax Attributes would be expected to be severely diminished.

                  28.      As they relate to an Ownership Change that occurs pursuant to a confirmed

chapter 11 plan or any applicable bankruptcy court order, however, the limitations imposed by

section 382 of the Tax Code are significantly less restrictive than those applicable to an Ownership

Change that occurs before the effective date of (or otherwise outside of) a chapter 11 plan. See 26

U.S.C. § 382(l)(5), (6). Under section 382(l)(5) of the Tax Code (the “Section 382(l)(5) Safe

Harbor”), a corporation is not subject to the annual limitation ordinarily imposed by section 382

of the Tax Code with respect to an Ownership Change, provided that the Ownership Change

resulted from the consummation of a chapter 11 plan or pursuant to any applicable bankruptcy

court order and that the debtor’s pre-Ownership Change shareholders and/or “qualified creditors”




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(as hereinafter defined) emerge from the reorganization owning at least fifty percent (50%) of the

total value and voting power of the reorganized debtor’s stock immediately after the Ownership

Change. Id. § 382(l)(5)(A).

                  29.      Under section 382(l)(5)(E) of the Tax Code and the applicable Treasury

Regulations, a creditor whose Claim is exchanged for stock of the reorganized debtor under a

chapter 11 plan or pursuant to any applicable bankruptcy court order is, for purposes of section

382 of the Tax Code, a “qualified creditor” (each, a “Qualified Creditor”) if such creditor’s Claim

either (a) has been owned by such creditor for eighteen (18) or more months prior to the Petition

Date or (b) arose in the ordinary course of the debtor’s business and was at all times beneficially

owned by such creditor. Creditors also may be classified as Qualified Creditors, despite not

satisfying either of these conditions, if such creditors meet the criteria set forth in Treasury

Regulations section 1.382-9(d)(3) (the “De Minimis Rule”). Under the De Minimis Rule, a debtor

may, for purposes of the Section 382(l)(5) Safe Harbor, “treat indebtedness as always having been

owned by the beneficial owner of the indebtedness immediately before the ownership change if

the beneficial owner is not, immediately after the ownership change, either a 5-percent shareholder

or an entity through which a 5-percent shareholder owns an indirect ownership interest” in the

debtor. 26 C.F.R. § 1.382-9(d)(3). If a creditor is treated as having continuously owned its

Claim(s) under the De Minimis Rule, such creditor will be regarded as a Qualified Creditor so long

as the particular Claim(s) that it holds either (a) arose in the ordinary course of the debtor’s

business or (b) came into existence (or is treated under the applicable tax rules as having come into

existence) at least eighteen (18) months prior to the Petition Date.

                  30.      The full trading of Claims is permitted until the implementation of the

Claims Procedures. The Claims Procedures would not be implemented unless and until the Debtors




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file a chapter 11 plan of reorganization (or any amendment thereof) or otherwise file notice with

the Court to indicate that the Debtors are contemplating the utilization of the Section 382(l)(5)

Safe Harbor in connection with a chapter 11 plan of reorganization. If the Claims Procedures are

implemented and the Debtors set a Determination Date (as defined in the Claims Procedures),

acquisitions of certain Claims by certain creditors following the Determination Date may be

restricted and the Debtors may seek a subsequent order to require, if necessary for the Debtors’

ability to utilize the Section 382(l)(5) Safe Harbor, a purchaser of certain Claims on or after the

Petition Date to resell some or all of such Claims.

                  31.      Although there can be no assurance that the Section 382(l)(5) Safe Harbor

ultimately will be available to the Debtors, it is important that the Debtors preserve the ability and

flexibility to take advantage of the Section 382(l)(5) Safe Harbor. Because the determination of

whether a creditor is a Qualified Creditor, in whole or in part, depends on the nature of its Claims

and whether it has held its Claims (within the meaning of the applicable Treasury Regulations)

until the effective date of the chapter 11 plan, transfers of Claims by creditors before such date

could impair or preclude Debtors’ ability to satisfy the requirements of the Section 382(l)(5) Safe

Harbor (assuming those requirements would otherwise be satisfied). The requested relief will

ensure that the Debtors will retain flexibility, if the Debtors determine it to be desirable, to comply

with the requirements of the Section 382(l)(5) Safe Harbor and thus to preserve the Tax Attributes

to the fullest extent possible.

                  32.      Even if it is ultimately determined that either the Section 382(l)(5) Safe

Harbor is unavailable to the Debtors or the relief provided thereby would not materially benefit

the Debtors in the context of their restructuring, section 382(l)(6) of the Tax Code provides a

second, alternative rule that applies when an Ownership Change occurs pursuant to a confirmed




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chapter 11 plan or any applicable bankruptcy court order. Specifically, section 382(l)(6) of the

Tax Code provides that, if a debtor undergoes an Ownership Change pursuant to a chapter 11 plan

and the Section 382(l)(5) Safe Harbor does not apply, then the appropriate value of the Debtors

for purposes of calculating the annual limitation under section 382 of the Tax Code shall reflect

the increase in value of the Debtors resulting from any surrender or cancellation of creditors’

Claims. Generally, under section 382 of the Tax Code, the taxable income of a loss corporation

available for offset by pre-Ownership Change Tax Attributes is annually limited to an amount

equal to the long-term tax-exempt bond rate times the value of the loss corporation’s stock

immediately before the Ownership Change. Thus, assuming the equity value of the Debtors

increases as a result of the reorganization, section 382(l)(6) of the Tax Code will provide for a

higher (and therefore less restrictive) annual limitation than would result under the general rules

of section 382 of the Tax Code, thereby preserving the Debtors’ ability to utilize a greater portion

of their otherwise available Tax Attributes to offset any post-Ownership Change income.

                  33.      In all circumstances, it is in the best interest of the Debtors and their

stakeholders for this Court to grant the requested relief in order to prevent an Ownership Change

prior to the effective date of a chapter 11 plan or any applicable bankruptcy court order.

                    Waiver of Separate Memorandum of Points and Authorities

                  34.      The Debtors respectfully request that the Court regard any argument and

citations set forth herein as a written memorandum of facts, reasons, and authorities that has been

combined with the relief requested herein, as permitted by Local Bankruptcy Rule 9013-1(G)(1).

Alternatively, the Debtors respectfully request that the Court waive any requirement set forth in

Local Bankruptcy Rule 9013-1(G)(1) that this Motion be accompanied by such a written

memorandum.




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                                             Reservation of Rights

                  35.      Nothing contained herein is intended or shall be construed as (a) an

admission as to the validity of any claim against the Debtors; (b) a waiver of the Debtors’ or any

appropriate party in interest’s rights to dispute the amount of, basis for, or validity of any claim

against the Debtors; (c) a waiver of any claims or causes of action which may exist against any

creditor or interest holder; or (d) an approval, assumption, adoption, or rejection of any agreement,

contract, lease, program, or policy between the Debtors and any third party under section 365 of

the Bankruptcy Code.

                                                    Notice

                  36.      Notice of this Motion will be provided to (a) the Office of the United States

Trustee for the Eastern District of Virginia (the “U.S. Trustee”); (b) the holders of the 30 largest

unsecured claims against the Debtors on a consolidated basis; (c) counsel to the DIP Agent;

(d) counsel to the Prepetition ABL Agent; (e) counsel to the Prepetition Term Loan Agent;

(f) counsel to the IPCo Notes Trustees; (g) counsel to the Ad Hoc Committee; (h) counsel to the

Sponsors; (i) the Internal Revenue Service; (j) the United States Attorney’s Office for the Eastern

District of Virginia; (k) the Securities and Exchange Commission; and (l) any other party that has

requested service pursuant to Bankruptcy Rule 2002 as of the time of service (collectively,

the “Notice Parties”).             The Debtors believe that no further notice is required under the

circumstances.

                                               No Prior Request

                  37.      No previous request for the relief sought herein has been made by the

Debtors to this or any other court.




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                  WHEREFORE the Debtors respectfully request entry of the Proposed Orders

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: May 4, 2020
       Richmond, Virginia
                                         /s/ Henry P. (Toby) Long, III
                                         HUNTON ANDREWS KURTH LLP
                                         Tyler P. Brown (VSB No. 28072)
                                         Henry P. (Toby) Long, III (VSB No. 75134)
                                         Nathan Kramer (VSB No. 87720)
                                         Riverfront Plaza, East Tower
                                         951 East Byrd Street
                                         Richmond, Virginia 23219
                                         Telephone: (804) 788-8200
                                         Facsimile: (804) 788-8218


                                         -and-

                                         WEIL, GOTSHAL & MANGES LLP
                                         Ray C. Schrock, P.C. (pro hac vice admission pending)
                                         Ryan P. Dahl (pro hac vice admission pending)
                                         Candace M. Arthur (pro hac vice admission pending)
                                         Daniel Gwen (pro hac vice admission pending)
                                         767 Fifth Avenue
                                         New York, New York 10153
                                         Telephone: (212) 310-8000
                                         Facsimile: (212) 310-8007

                                         Proposed Attorneys for Debtors
                                         and Debtors in Possession




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                                             Exhibit A

                                      Proposed Interim Order




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :         Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :         Case No. 20–________
                                                             :
                                    Debtors. 1               :         (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                     INTERIM ORDER ESTABLISHING
         NOTIFICATION PROCEDURES AND APPROVING RESTRICTIONS
       ON CERTAIN TRANSFERS OF INTERESTS IN, AND CLAIMS AGAINST,
    THE DEBTORS AND CLAIMS OF CERTAIN WORTHLESS STOCK DEDUCTIONS

                  Upon the motion (the “Motion”) 2 of Chinos Holdings, Inc. (“Chinos”) and its

debtor affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”), for an interim order (a) authorizing the Debtors to establish

procedures to protect the potential value of the Debtors’ federal consolidated net operating losses

(the “NOLs”), carryforwards of disallowed business interest expense, carryforwards of unused

general business credits, and other tax benefits (collectively, the “Tax Attributes”) for use in

connection with the reorganization of the Debtors and in future periods, and (b) granting related

relief, pursuant to sections 105(a) and 362 of title 11 of the United States Code (the “Bankruptcy



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
     Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
     Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
     International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
     (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
     Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
     headquarters and service address is 225 Liberty St., New York, NY 10281.
2
     Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
     in the Motion.




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Code”), all as more fully set forth in the Motion; and the Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334; and the

Standing Order of Reference from the United States District Court for the Eastern District of

Virginia, dated July 10, 1984; and consideration of the Motion and the requested relief being a

core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant

to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided to

the Notice Parties under the circumstances, and it appearing that no other or further notice need be

provided; and this Court having held a hearing to consider the relief requested in the Motion on an

interim basis; and upon the First Day Declaration and the record of the hearing on the Motion; and

all objections to the relief requested in the Motion on an interim basis having been withdrawn,

resolved, or overruled; and the Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court and after due deliberation and sufficient cause appearing therefor.

                  IT IS HEREBY ORDERED THAT

                  1.       The Motion is granted on an interim basis to the extent set forth herein.

                  2.       The provisions of this Interim Order shall be effective as of the Petition

Date.

                  3.       The Debtors’ Tax Attributes are property of the Debtors’ estates pursuant

to section 541 of the Bankruptcy Code and are protected by section 362(a) of the Bankruptcy Code.

                  4.       The restrictions, notification requirements, and other procedures annexed

hereto as Exhibit 1 (the “Procedures”) are hereby approved and shall apply to all trading and

transfers of, and claiming a Worthless Stock Deduction with respect to, beneficial ownership of

Chinos Stock or Options to acquire Chinos Stock; provided that, the Debtors may, in their sole



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discretion, waive, in writing, any and all restrictions, stays, and notification procedures set forth in

the Procedures.

                  5.       Until further order of this Court to the contrary, any acquisition, disposition

or trading of, or Worthless Stock Deduction claim with respect to, Chinos Stock (including

indirectly or through the issuance or transfer of Options to acquire Chinos Stock) in violation of

the Procedures shall be null and void ab initio as an act in violation of the automatic stay under

section 362 of the Bankruptcy Code and pursuant to the Court’s equitable powers under section

105(a) of the Bankruptcy Code.

                  6.       Any person or Entity that acquires, disposes of, or trades beneficial

ownership of Chinos Stock (including indirectly or through the issuance or transfer of Options to

acquire Chinos Stock) in violation of this Interim Order or the Procedures or that otherwise fails

to comply with their requirements, including with respect to claiming a Worthless Stock

Deduction, shall be subject to such sanctions as this Court may consider appropriate pursuant to

the Court’s equitable power under section 105(a) of the Bankruptcy Code.

                  7.       The notices substantially in the forms annexed hereto as Exhibit 2,

Exhibit 3, Exhibit 4, Exhibit 5 and Exhibit 6 are hereby approved.

                  8.       Within five (5) business days of the entry of this Interim Order, the Debtors

shall send the notice of this Interim Order (the “Notice of Interim Order”) annexed hereto as

Exhibit 7 to all parties that were served with notice of the Motion, publish the Notice of Interim

Order once in the national edition of The New York Times, and post the Procedures to the website

established by the Debtors’ proposed claims agent for their chapter 11 cases, Omni Agent

Solutions (which website address shall be identified in the Notice of Interim Order), such notice




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being reasonably calculated to provide notice to all parties that may be affected by the Procedures,

whether known or unknown, and no further notice of the Procedures shall be necessary.

                  9.       The relief granted in this Interim Order is intended solely to permit the

Debtors to protect, preserve, and maximize the value of their Tax Attributes; accordingly, other

than to the extent that this Interim Order expressly conditions or restricts trading in, or making

Worthless Stock Deduction claims with respect to, interests in the Debtors, nothing in this Interim

Order or in the Motion shall, or shall be deemed to, prejudice, impair, or otherwise alter or affect

the rights of any holders of interests in the Debtors, including in connection with the treatment of

any such interests under any chapter 11 plan of reorganization or any applicable court order.

                  10.      Nothing herein shall preclude any person or Entity desirous of purchasing

or transferring, or making Worthless Stock Deduction claims with respect to, beneficial ownership

of Chinos Stock or Options to acquire Chinos Stock from requesting relief from this Interim Order

from this Court, subject to the Debtors’ rights to oppose such relief.

                  11.      The relief granted in this Interim Order is intended solely to permit the

Debtors to protect, preserve, and maximize the value of their Tax Attributes; accordingly, other

than to the extent that this Interim Order or in the Motion shall or shall be deemed to prejudice,

impair or otherwise alter or affect rights of any holders of interests in, or claims against, the

Debtors, including in connection with the treatment of any such interests or claims under any Court

order.

                  12.      The requirements set forth in this Interim Order are in addition to the

requirements of Bankruptcy Rule 3001(e) and applicable securities, corporate and other laws and

do not excuse noncompliance therewith.




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                  13.      This Interim Order shall be immediately effective and enforceable upon its

entry.

                  14.      The requirement under Local Bankruptcy Rule 9013-1(G) to file a

memorandum of law in connection with the Motion is waived.

                  15.      A hearing to consider entry of an order granting the relief requested in the

Motion on a final basis shall be held on ____________, 2020, at _____ (Eastern Time) and any

objections or responses to the Motion shall be in writing, filed with the Court, and served no later

than 4:00 p.m. (Eastern Time) on _______, 2020 on the following:

                  a.       proposed counsel for the Debtors: Weil, Gotshal & Manges LLP, 767 Fifth
                           Avenue, New York, New York 10153 (Attn: Ray C. Schrock, P.C.
                           (ray.schrock@weil.com), Ryan P. Dahl, Esq. (ryan.dahl@weil.com),
                           Candace M. Arthur, Esq. (candace.arthur@weil.com) and Daniel Gwen,
                           Esq. (daniel.gwen@weil.com));

                  b.       proposed co-counsel for the Debtors: Hunton Andrews Kurth LLP,
                           Riverfront Plaza, East Tower, 951 East Byrd Street, Richmond, Virginia
                           23219 (Attn: Tyler P. Brown, Esq. (tpbrown@HuntonAK.com), Henry P.
                           (Toby) Long, III, Esq. (hlong@HuntonAK.com), and Nathan Kramer, Esq.
                           (nkramer@HuntonAK.com); and

                  c.       the U.S. Trustee: 701 East Broad Street, Suite 4304, Richmond, VA 23219
                           (Attn: Kenneth N. Whitehurst, III (USTPRegion4.RH.ECF@usdoj.gov).

                  16.      The Debtors are authorized to take all action necessary to effectuate the

relief granted in this Interim Order.

                  17.      The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Interim Order.


Dated:                             , 2020
         Richmond, Virginia


                                                  UNITED STATES BANKRUPTCY JUDGE




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WE ASK FOR THIS:

/s/ Henry P. (Toby) Long, III
HUNTON ANDREWS KURTH LLP
Tyler P. Brown (VSB No. 28072)
Henry P. (Toby) Long, III (VSB No. 75134)
Nathan Kramer (VSB No. 87720)
Riverfront Plaza, East Tower
951 East Byrd Street
Richmond, VA 23219
Tel: (804) 788-8200
Fax: (804) 788-8218

-and-

WEIL, GOTSHAL & MANGES LLP
Ray C. Schrock, P.C. (pro hac vice admission pending)
Ryan Preston Dahl (pro hac vice admission pending)
Candace M. Arthur (pro hac vice admission pending)
Daniel Gwen (pro hac vice admission pending)
767 Fifth Avenue
New York, New York 10153
Telephone: (212) 310-8000
Facsimile: (212) 310-8007
Proposed Attorneys for Debtors
and Debtors in Possession


                        CERTIFICATION OF ENDORSEMENT
                     UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

I hereby certify that the foregoing proposed order has been endorsed by or served upon
all necessary parties.

                                               /s/ Henry P. (Toby) Long, III




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                                             Exhibit 1

                                            Procedures




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :         Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :         Case No. 20–________
                                                             :
                                    Debtors. 1               :         (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                NOTICES, RESTRICTIONS, AND PROCEDURES
           REGARDING OWNERSHIP AND APPROVING RESTRICTIONS
       ON CERTAIN TRANSFERS OF INTERESTS IN, AND CLAIMS AGAINST,
    THE DEBTORS AND CLAIMS OF CERTAIN WORTHLESS STOCK DEDUCTIONS

         Pursuant to that certain Interim Order Establishing Notification Procedures and Approving

Restrictions on Certain Transfers of Interests in, and Claims Against, the Debtors and Claims of

Certain Worthless Stock Deductions (the “Interim Order”) of the United States Bankruptcy Court

for the Eastern District of Virginia (the “Bankruptcy Court”) entered on _________, 2020,

Docket No. [____], the following restrictions, notification requirements, and/or other procedures

(collectively, the “Procedures”) apply to all trading and transfers of, and claims of Worthless

Stock Deductions with respect to, beneficial ownership of Chinos Stock (including indirectly or

through the issuance or transfer of Options to acquire Chinos Stock): 2


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
     Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
     Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
     International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
     (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
     Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
     headquarters and service address is 225 Liberty St., New York, NY 10281.
2
     Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
     Motion of Debtors for Entry of Interim and Final Orders Establishing Notification Procedures and Approving
     Restrictions on Certain Transfers of Interests in, and Claims Against, the Debtors and Claims of Certain
     Worthless Stock Deductions [Docket No. [●]] (the “Motion”).




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A.       Chinos Stock Restrictions

       i.    Definitions. For purposes of these Procedures, the following terms have the
following meanings:

                 1.     “Entity” has the meaning as such term is defined in section 1.382-3(a) of
title 26 of the Code of Federal Regulations (the “Treasury Regulations”), including any group of
persons acting pursuant to a formal or informal understanding among themselves to make a
coordinated acquisition of Chinos Stock (as defined below).

               2.    “Common Stock” shall mean any common stock issued by Chinos
Holdings, Inc. (“Chinos”).

                  3.       “Class A Preferred Stock” shall mean Class A preferred stock issued by
Chinos.

                  4.       “Class B Preferred Stock” shall mean Class B preferred stock issued by
Chinos.

                5.      “Option” shall mean any contingent purchase, warrant, convertible debt,
put, stock subject to risk of forfeiture, contract to acquire stock, or similar interest regardless of
whether it is contingent or otherwise not currently exercisable.

               6.      “Chinos Stock” shall mean, collectively, Common Stock, Class A
Preferred Stock, and Class B Preferred Stock. For the avoidance of doubt, by operation of the
definition of beneficial ownership, an owner of an Option to acquire beneficial ownership of
Chinos Stock may be treated as the owner of such Chinos Stock.

                7.      “Beneficial ownership” of Chinos Stock and Options to acquire Chinos
Stock shall be determined in accordance with applicable rules under section 382 of the title 26 of
the United States Code (the “Tax Code”), the Treasury Regulations, and rulings issued by the
Internal Revenue Service (the “IRS”), and, thus, to the extent provided in those sources, from time
to time shall include, without limitation, (i) direct and indirect ownership, determined without
regard to any rule that treats stock of an entity as to which the constructive ownership rules apply
as no longer owned by that entity (e.g., a holding company would be considered to beneficially
own all stock owned or acquired by its subsidiaries), (ii) ownership by a holder’s family members,
(iii) ownership by any Entity, and (iv) to the extent set forth in Treasury Regulations section 1.382-
4, the ownership of an Option to acquire beneficial ownership of Chinos Stock.

                8.     “Substantial Stockholder” shall mean any person or Entity that
beneficially owns at least 5,348,600 shares of Common Stock (representing approximately 4.75%
of all issued and outstanding shares of Common Stock), 9,600 shares of Class A Preferred Stock
(representing approximately 4.75% of all issued and outstanding shares of Class A Preferred
Stock), or 6,000 shares of Class B Preferred Stock (representing approximately 4.75% of all issued
and outstanding shares of Class B Preferred Stock).




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               9.      “Majority Stockholder” shall mean any person that would be a “50-
percent shareholder” (within the meaning of section 382(g)(4)(D) of the Tax Code) of Chinos
Stock if such person claimed a Worthless Stock Deduction at any time on or after the Petition Date.

              10.     “Worthless Stock Deduction” shall mean any claim (for U.S. federal
income tax reporting purposes) of a worthless stock deduction under section 165(g) of the Tax
Code with respect to beneficial ownership of Chinos Stock.

       ii.      Notice of Substantial Ownership. Any person or Entity that beneficially owns, at
any time on or after the Petition Date, Chinos Stock in an amount sufficient to qualify such person
or Entity as a Substantial Stockholder shall file with the Bankruptcy Court, and serve upon (i) the
Debtors, 225 Liberty Street, 17th Floor, New York, NY 10281 (Attn: Maria Di Lorenzo); (ii)
counsel for the Debtors, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York
10153 (Attn: Ray C. Schrock, P.C.; Ryan P. Dahl, Esq.; Candace M. Arthur, Esq. and Daniel
Gwen, Esq.); (iii) co-counsel for the Debtors: Hunton Andrews Kurth LLP, Riverfront Plaza, East
Tower, 951 East Byrd Street, Richmond, Virginia 23219 (Attn: Tyler P. Brown, Esq., Henry P.
(Toby) Long, III, Esq., and Nathan Kramer, Esq.); (iv) counsel to any statutory committee of
unsecured creditors appointed in these cases (a “Creditors’ Committee”); (v) counsel to the Ad
Hoc Committee, Milbank LLP (Attn: Dennis F. Dunne, Esq. (DDunne@milbank.com), Samuel A.
Khalil, Esq. (SKhalil@milbank.com) and Matthew A. Brod, Esq. (MBrod@milbank.com)); and
(vi) counsel to the Sponsors (collectively, the “Disclosure Parties”) a notice of such person’s or
Entity’s substantial ownership (a “Substantial Stock Ownership Notice”), in substantially the
form annexed to the Proposed Orders as Exhibit 2, which describes specifically and in detail such
person’s or Entity’s ownership of Chinos Stock, on or before the date that is the later of (x) twenty
(20) calendar days after the entry of an order granting the relief requested in the Motion, and (y)
ten (10) business days after such person or Entity qualifies as a Substantial Stockholder. At the
election of the Substantial Stockholder, the Substantial Stock Ownership Notice to be filed with
the Bankruptcy Court (but not the Substantial Stock Ownership Notice that is served upon the
Debtors and counsel and co-counsel to the Debtors) may be redacted to exclude the Substantial
Stockholder’s taxpayer identification number and the amount of Chinos Stock that the Substantial
Stockholder beneficially owns.

      iii.     Acquisition of Chinos Stock. At least fifteen (15) business days prior to the
proposed date of any transfer of Chinos Stock (including indirectly or through the issuance or
transfer of Options to acquire Chinos Stock) or exercise of any Option to acquire Chinos Stock
that would result in an increase in the amount of Chinos Stock beneficially owned by any person
or Entity that currently is or, as a result of the proposed transaction, would be a Substantial
Stockholder (a “Proposed Acquisition Transaction”), such person or Entity (a “Proposed
Transferee”) shall file with the Bankruptcy Court and serve upon the Disclosure Parties a notice
of such Proposed Transferee’s intent to purchase, acquire, or otherwise accumulate Chinos Stock
and/or Options to acquire Chinos Stock (an “Acquisition Notice”), in substantially the form
annexed to the Proposed Orders as Exhibit 3, which describes specifically and in detail the
Proposed Acquisition Transaction. At the election of the Proposed Transferee, the Acquisition
Notice to be filed with the Bankruptcy Court (but not the Acquisition Notice that is served upon
the Debtors and counsel and co-counsel to the Debtors) may be redacted to exclude the Proposed
Transferee’s taxpayer identification number and the amount of Chinos Stock that the Proposed
Transferee beneficially owns.

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       iv.      Disposition of Chinos Stock. At least fifteen (15) business days prior to the
proposed date of any transfer or other disposition of Chinos Stock (including indirectly or through
the issuance or transfer of Options to acquire Chinos Stock) that would result in either a decrease
in the amount of Chinos Stock beneficially owned by a Substantial Stockholder or a person’s or
Entity’s ceasing to be a Substantial Stockholder (a “Proposed Disposition Transaction” and,
together with a Proposed Acquisition Transaction, a “Proposed Transaction”), such person,
Entity, or Substantial Stockholder (a “Proposed Transferor”) shall file with the Bankruptcy Court
and serve upon the Disclosure Parties a notice of such Proposed Transferor’s intent to sell, trade,
or otherwise transfer Chinos Stock or Options to acquire Chinos Stock (a “Disposition Notice”
and, together with an Acquisition Notice, a “Trading Notice”), in substantially the form annexed
to the Proposed Orders as Exhibit 4, which describes specifically and in detail the Proposed
Disposition Transaction. At the election of the Substantial Stockholder, the Disposition Notice to
be filed with the Bankruptcy Court (but not the Disposition Notice that is served upon the Debtors
and counsel and co-counsel to the Debtors) may be redacted to exclude the Substantial
Stockholder’s taxpayer identification number and the amount of Chinos Stock that the Substantial
Stockholder beneficially owns.

       v.      Notice of Status as a Majority Stockholder. Any person or Entity that currently is
or becomes a Majority Stockholder shall file with the Bankruptcy Court and serve upon the
Disclosure Parties a notice of such status (a “Majority Stockholder Notice”), in substantially the
form annexed to the Proposed Orders as Exhibit 5, which describes specifically and in detail such
person’s beneficial ownership of Chinos Stock, on or before the date that is the later of (x) twenty
(20) calendar days after the entry of an order granting the relief requested in the Motion and (y)
ten (10) business days after such person qualifies as a Majority Stockholder. At the election of the
Majority Stockholder, the Majority Stockholder Notice to be filed with the Bankruptcy Court (but
not the Majority Stockholder Notice that is served upon the Debtors and counsel and co-counsel
to the Debtors) may be redacted to exclude the Majority Stockholder’s taxpayer identification
number.

      vi.       Notice of Intent to Claim a Worthless Stock Deduction. At least fifteen (15)
business days before a Majority Stockholder files any federal income tax return, or any amendment
to such a return, claiming a Worthless Stock Deduction for a tax year of the Majority Stockholder
ending on or before the effective date of a chapter 11 plan of reorganization for the Debtors, such
Majority Stockholder shall file with the Bankruptcy Court and serve upon the Disclosure Parties
advanced written notice of the intended Worthless Stock Deduction (a “Worthless Stock
Deduction Notice”), in substantially the form annexed to the Proposed Orders as Exhibit 6. At
the election of the Majority Stockholder, the Worthless Stock Deduction Notice to be filed with
the Bankruptcy Court (but not the Worthless Stock Deduction Notice that is served upon the
Debtors and counsel and co-counsel to the Debtors) may be redacted to exclude the Majority
Stockholder’s taxpayer identification number.

     vii.      Objection Procedures. The Debtors, in reasonable consultation with the Ad Hoc
Committee, shall have fifteen (15) business days after the filing of a Trading Notice or a Worthless
Stock Deduction Notice (the “Objection Period”) to file with the Bankruptcy Court and serve on
a Proposed Transferee or a Proposed Transferor, as the case may be, or a Majority Stockholder, as
applicable, an objection (each, an “Objection”) to any Proposed Transaction described in such
Trading Notice or any Worthless Stock Deduction described in such Worthless Stock Deduction

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Notice; provided that the Objection Period and date of any Proposed Transaction or deduction
shall be extended with the consent of the Proposed Transferee, Proposed Transferor, or Majority
Stockholder, such consent not to be unreasonably withheld, conditioned, or delayed. If, after
reasonable consultation with the Ad Hoc Committee, the Debtors file an Objection by the
expiration of the Objection Period including any extension thereof (the “Objection Deadline”),
then the applicable Proposed Transaction or Worthless Stock Deduction shall not be effective
unless approved by a final and nonappealable order of the Bankruptcy Court. If, after reasonable
consultation with the Ad Hoc Committee, the Debtors do not file an Objection by the Objection
Deadline or provide written authorization to the Proposed Transferee or the Proposed Transferor,
as the case may be, or the Majority Stockholder, as applicable, approving the Proposed Transaction
or the Worthless Stock Deduction prior to the Objection Deadline, then such Proposed Transaction
or Worthless Stock Deduction may proceed solely as specifically described in the applicable
Trading Notice or Worthless Stock Deduction Notice. Any further Proposed Transaction or
Worthless Stock Deduction must be the subject of an additional Trading Notice or Worthless Stock
Deduction Notice and Objection Period.

B.       Noncompliance with the Procedures

Any acquisition, disposition, trading of, or claim of Worthless Stock Deduction with respect to,
beneficial ownership of Chinos Stock or Options to acquire Chinos Stock in violation of these
Procedures shall be null and void ab initio as an act in violation of the automatic stay under section
362 of the Bankruptcy Code and pursuant to the Bankruptcy Court’s equitable powers under
section 105(a) of the Bankruptcy Code. In the event that a Majority Stockholder claims a
Worthless Stock Deduction in violation of these Procedures, such holder shall be required to file
an amended federal income tax return revoking such deduction. Furthermore, any person or Entity
that acquires, disposes of, trades, or claims a Worthless Stock Deduction with respect to beneficial
ownership of Chinos Stock or Options to acquire Chinos Stock in violation of these Procedures
shall be subject to sanctions as provided by law.

C.       Debtors’ Right to Waive

The Debtors may, in their sole discretion, waive, in writing, any and all restrictions, stays,
and notification Procedures contained in this Notice.


Dated:       Richmond, Virginia                       BY ORDER OF THE COURT
             [________], 2020




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                                              Exhibit 2

                              Form of Substantial Stock Ownership Notice




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :    Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :    Case No. 20–________
                                                             :
                                    Debtors. 1               :    (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                       NOTICE OF SUBSTANTIAL STOCK OWNERSHIP

                PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court for the Eastern District of Virginia dated [________], 2020, Docket No.
[__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby provides
notice that, as of the date hereof, the Filer beneficially owns:

            (i)     __________ shares of common stock issued by Chinos Holdings, Inc.
(“Chinos”) (the “Common Stock”),

              (ii)       __________ shares of Class A preferred stock issued by Chinos (the “Class
                         A Preferred Stock”),

             (iii)       __________ shares of Class B preferred stock issued by Chinos (the “Class
                         B Preferred Stock”), and/or

              (iv)       Options 2 to acquire __________ shares of Common Stock, __________
                         shares of Class A Preferred Stock and/or __________ shares of Class B
                         Preferred Stock,



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.




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                 PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
 the Filer is ______________.

                PLEASE TAKE FURTHER NOTICE that the following table sets forth the
 following information:

                 For Common Stock, Class A Preferred Stock, Class B Preferred Stock (collectively,
 “Chinos Stock”) and/or Options to acquire Chinos Stock that are owned directly by the Filer, the
 table sets forth (i) the number of such shares and/or the number of shares underlying Options to
 acquire Chinos Stock owned by such Filer and (ii) the date(s) on which such Chinos Stock and/or
 Options to acquire Chinos Stock were acquired (categorized by class, as applicable).

                In the case of Chinos Stock and/or Options to acquire Chinos Stock that are not
 owned directly by the Filer but are nonetheless beneficially owned by the Filer, the table sets forth
 (i) the name(s) of each record or legal owner of such shares of Common Stock, Class A Preferred
 Stock, Class B Preferred Stock, and/or Options to acquire Chinos Stock that are beneficially owned
 by such Filer, (ii) the number of shares of Common Stock, the number of shares of Class A
 Preferred Stock, the number of Class B Preferred Stock and/or the number of shares of Common
 Stock, Class A Preferred Stock, or Class B Preferred Stock underlying Options to acquire Chinos
 Stock beneficially owned by such Filer, and (iii) the date(s) on which such Common Stock, Class
 A Preferred Stock, Class B Preferred Stock, and/or Options to acquire Chinos Stock were acquired
 (categorized by class, as applicable).

      Class                   Name of          Shares Owned       Shares Underlying    Date(s)
                              Owner                                Options Owned      Acquired
 Common Stock

Class A Preferred
      Stock

Class B Preferred
      Stock

                                    (Attach additional pages if necessary.)

                [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
 [phone], (Attn: [name of attorney]).]




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                                              Respectfully submitted,


                                              [Name of Filer]

                                              By:
                                              Name:

                                              Address:


                                              Telephone:
                                              Facsimile:
                                              Date: _________________________




                                                 3
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                                             Exhibit 3

                                     Form of Acquisition Notice




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                      NOTICE OF INTENT TO PURCHASE, ACQUIRE, OR
                        OTHERWISE ACCUMULATE CHINOS STOCK

                  PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court for the Eastern District of Virginia, dated [________], 2020, Docket No.
[__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby provides
notice of (i) its intention to purchase, acquire, or otherwise accumulate directly one or more shares
of common stock issued by Chinos Holdings, Inc. (“Chinos”) (the “Common Stock”), Class A
preferred stock issued by Chinos (“Class A Preferred Stock”), Class B preferred stock issued by
Chinos (“Class B Preferred Stock” and together with the Common Stock and Class A Preferred
Stock, the “Chinos Stock”) and/or Options 2 to acquire Chinos Stock, and/or (ii) a proposed
purchase or acquisition of Chinos Stock and/or Options to acquire Chinos Stock that would result
in an increase in the number of shares of Chinos Stock and/or number of shares of Chinos Stock
underlying Options to acquire Chinos Stock that are beneficially owned by the Filer (any proposed
transaction described in clauses (i) or (ii), a “Proposed Transfer”).

               PLEASE TAKE FURTHER NOTICE that the following table sets forth the
following information:

               1. If the Proposed Transfer involves the purchase or acquisition directly by the
Filer of Chinos Stock and/or Options to acquire Chinos Stock, the table sets forth (i) the number

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.




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  of shares of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number
  of shares of Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying
  Options to acquire Chinos Stock proposed to be purchased or acquired and (ii) the date(s) of such
  Proposed Transfer (categorized by class, as applicable).

                   2. If the Proposed Transfer involves the purchase or acquisition of Chinos Stock
  and/or Options to acquire Chinos Stock by a person or Entity other than the Filer, but the Proposed
  Transfer nonetheless would increase the number of shares of Chinos Stock and/or number of shares
  of Chinos Stock underlying Options to acquire Chinos Stock that are beneficially owned by the
  Filer, the table sets forth (i) the name(s) of each such person or Entity that proposes to purchase or
  acquire such shares of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or
  Options to acquire Chinos Stock, (ii) the number of shares of Common Stock, Class A Preferred
  Stock, Class B Preferred Stock, and/or the number of shares of Common Stock, Class A Preferred
  Stock, or Class B Preferred Stock underlying Options to acquire Chinos Stock proposed to be
  purchased or acquired, and (iii) the date(s) of such Proposed Transfer (categorized by class, as
  applicable).

      Class               Name of         Shares to be          Shares Underlying      Date(s) of
                         Purchaser        Purchased or            Options to be        Proposed
                             or             Acquired          Purchased or Acquired    Transfer
                          Acquirer
 Common Stock

Class A Preferred
      Stock

Class B Preferred
      Stock

                                     (Attach additional page if necessary.)

                 PLEASE TAKE FURTHER NOTICE that the following table summarizes the
  Filer’s beneficial ownership of Chinos Stock and/or Options to acquire Chinos Stock assuming
  that the Proposed Transfer is approved and consummated as described above. The table sets forth,
  as of immediately following the consummation of the Proposed Transfer, the number of shares of
  Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
  Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying Options to acquire
  Chinos Stock (i) that would be owned directly by the Filer and, (ii) in the case of any beneficial
  ownership by the Filer of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or
  Options to acquire Chinos Stock that would be owned by another person or Entity as record or
  legal owner, the name(s) of each prospective record or legal owner and the number of shares of
  Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
  Common Stock, Class A Preferred Stock, Class B Preferred Stock underlying Options to acquire
  Chinos Stock that would be owned by each such record or legal owner (categorized by class, as
  applicable):




                                                       2
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       Class                        Name of             Shares to Be Owned      Shares Underlying
                                    Owner                                      Options to Be Owned
 Common Stock

Class A Preferred
      Stock

Class B Preferred
      Stock

                                      (Attach additional page if necessary.)

                  PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a
 purchase or acquisition of Chinos Stock and/or Options to acquire Chinos Stock directly by the
 Filer and such Proposed Transfer would result in (i) an increase in the beneficial ownership of
 Chinos Stock and/or Options to acquire Chinos Stock by a person or Entity (other than the Filer)
 that currently is a Substantial Stockholder or (ii) a person’s or Entity’s (other than the Filer)
 becoming a Substantial Stockholder, the following table sets forth (a) the name of each such person
 or Entity, (b) the number of shares of Common Stock, Class A Preferred Stock, Class B Preferred
 Stock, and/or the number of shares of Common Stock, Class A Preferred Stock, or Class B
 Preferred Stock underlying Options to acquire Chinos Stock that are beneficially owned by such
 person or Entity currently (i.e., prior to the Proposed Transfer), and (c) the number of shares of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock underlying Options to acquire
 Chinos Stock that would be beneficially owned by such person or Entity immediately following
 the Proposed Transfer (categorized by class, as applicable).

   Class             Name of              Shares            Shares         Shares           Shares
                    Beneficial            Owned          to Be Owned    Underlying        Underlying
                     Owner              Currently         Following        Options       Options to Be
                                      (i.e., Prior to      Proposed        Owned            Owned
                                        Proposed           Transfer      Currently        Following
                                         Transfer)                     (i.e., Prior to     Proposed
                                                                         Proposed          Transfer
                                                                          Transfer)
 Common
  Stock

  Class A
 Preferred
   Stock

  Class B
 Preferred
   Stock

                                      (Attach additional page if necessary.)



                                                          3
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                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.

                 PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer
hereby declares that it has examined this Notice and accompanying attachments (if any), and, to
the best of its knowledge and belief, this Notice and any attachments which purport to be part of
this Notice are true, correct, and complete.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                              Respectfully submitted,


                                              [Name of Filer]

                                              By:
                                              Name:

                                              Address:


                                              Telephone:
                                              Facsimile:


                                              Date: ___________________




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                                             Exhibit 4

                                     Form of Disposition Notice




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                            NOTICE OF INTENT TO SELL, TRADE,
                          OR OTHERWISE TRANSFER CHINOS STOCK

                 PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court for the Eastern District of Virginia, dated [________], 2020, Docket No.
[__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby provides
notice of (i) its intention to sell, trade, or otherwise transfer or dispose of one or more shares of
common stock issued by Chinos Holdings, Inc. (“Chinos”) (the “Common Stock”), Class A
preferred stock issued by Chinos (“Class A Preferred Stock”), Class B preferred stock issued by
Chinos (“Class B Preferred Stock” and together with the Common Stock and Class A Preferred
Stock, the “Chinos Stock”) and/or Options 2 to acquire Chinos Stock and/or (ii) a proposed sale,
transfer, or disposition of Chinos Stock and/or Options to acquire Chinos Stock that would result
in a decrease in the number of shares of Chinos Stock and/or number of shares of Chinos Stock
underlying Options to acquire Chinos Stock that are beneficially owned by the Filer (any proposed
transaction described in clauses (i) or (ii), a “Proposed Transfer”).

               PLEASE TAKE FURTHER NOTICE that the following table sets forth the
following information:

               1. If the Proposed Transfer involves the sale, transfer, or disposition directly by the
Filer of Chinos Stock and/or Options to acquire Chinos Stock, the table sets forth (i) the number

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.




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of shares of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number
of shares of Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying
Options to acquire Chinos Stock proposed to be sold, transferred, or disposed of and (ii) the date(s)
of such Proposed Transfer (categorized by class, as applicable).

                 2. If the Proposed Transfer involves the sale, transfer or disposition of Chinos
Stock and/or Options to acquire Chinos Stock by a person or Entity other than the Filer, but the
Proposed Transfer nonetheless would decrease the number of shares of Chinos Stock and/or
number of shares of Chinos Stock underlying Options to acquire Chinos Stock that are beneficially
owned by the Filer, the table sets forth (i) the name(s) of each such person or Entity that proposes
to sell, transfer, or dispose of such Common Stock, Class A Preferred Stock, Class B Preferred
Stock, and/or Options to acquire Chinos Stock; (ii) the number of shares of Common Stock, Class
A Preferred Stock, Class B Preferred Stock, and/or the number of shares of Common Stock, Class
A Preferred Stock, or Class B Preferred Stock underlying Options to acquire Chinos Stock
proposed to be so sold, transferred, or disposed of; and (iii) the date(s) of such Proposed Transfer
(categorized by class, as applicable).

  Class             Name of           Shares to Be Sold,        Shares Underlying     Date(s) of
                   Transferor          Transferred, or          Options to Be Sold,   Proposed
                                        Disposed Of              Transferred, or      Transfer
                                                                   Disposed Of
Common
 Stock

Class A
Preferred
 Stock

 Class B
Preferred
  Stock

                                   (Attach additional page if necessary.)

               PLEASE TAKE FURTHER NOTICE that the following table summarizes the
Filer’s beneficial ownership of Chinos Stock and/or Options to acquire Chinos Stock assuming
that the Proposed Transfer is approved and consummated as described above. The table sets forth,
as of immediately following the consummation of the Proposed Transfer, the number of shares of
Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying Options to acquire
Chinos Stock (i) that would be owned directly by the Filer and, (ii) in the case of any beneficial
ownership by the Filer of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or
Options to acquire Chinos Stock that would be owned by another person or Entity as record or
legal owner, the name(s) of each prospective record or legal owner and the number of shares of
Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
Common Stock, Class A Preferred Stock, Class B Preferred Stock underlying Options to acquire



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 Chinos Stock that would be owned by each such record or legal owner (categorized by class, as
 applicable):

     Class                 Name of             Shares to Be Owned      Shares Underlying Options
                           Owner                                              to Be Owned
Common Stock

    Class A
Preferred Stock

    Class B
Preferred Stock

                                    (Attach additional page if necessary.)

                 PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a sale,
 transfer, or disposition of Chinos Stock and/or Options to acquire Chinos Stock directly by the
 Filer and such Proposed Transfer would result in (i) a decrease in the beneficial ownership of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or Options to acquire
 Chinos Stock by a person or Entity (other than the Filer) that currently is a Substantial Stockholder
 or (ii) a person’s or Entity’s (other than the Filer) becoming a Substantial Stockholder, the
 following table sets forth (a) the name of each such person or Entity, (b) the number of shares of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
 Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying Options to acquire
 Chinos Stock that are beneficially owned by such person or Entity currently (i.e., prior to the
 Proposed Transfer), and (c) the number of shares of Common Stock, Class A Preferred Stock,
 Class B Preferred Stock, and/or the number of shares of Common Stock, Class A Preferred Stock,
 Class B Preferred Stock underlying Options to acquire Chinos Stock that would be beneficially
 owned by such person or Entity immediately following the Proposed Transfer (categorized by
 class, as applicable).

  Class          Name of           Shares      Shares to Be        Shares            Shares
                Beneficial        Owned           Owned         Underlying         Underlying
                 Owner           Currently      Following      Options Owned      Options to Be
                                (i.e., Prior    Proposed       Currently (i.e.,      Owned
                               to Proposed       Transfer         Prior to         Following
                                 Transfer)                       Proposed           Proposed
                                                                 Transfer)          Transfer
Common
 Stock

 Class A
Preferred
  Stock




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 Class B
Preferred
  Stock

                                   (Attach additional page if necessary.)

                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.

                 PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer
hereby declares that it has examined this Notice and accompanying attachments (if any), and, to
the best of its knowledge and belief, this Notice and any attachments which purport to be part of
this Notice are true, correct, and complete.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                                  Respectfully submitted,


                                                  [Name of Filer]

                                                  By:
                                                  Name:

                                                  Address:


                                                  Telephone:
                                                  Facsimile:


                                                  Date: _____________________




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                                                Exhibit 5

                                   Form of Majority Stockholder Notice




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :         Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :         Case No. 20–________
                                                             :
                                    Debtors. 1               :         (Jointly Administered)
                                                             :
------------------------------------------------------------ x

              DECLARATION OF STATUS AS A MAJORITY STOCKHOLDER

                PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court dated [________], 2020, Docket No. [__] (with all exhibits thereto, the
“Interim Order”), [Name of Filer] (the “Filer”) hereby provides notice that, as of the date hereof,
the Filer is/has become a Majority Stockholder. 2

                PLEASE TAKE FURTHER NOTICE that, as of _________ ___, 2020, the Filer
beneficially owns ____ shares of Common Stock, ____ shares of Class A Preferred Stock, and/or
____ shares of Class B Preferred Stock (collectively, the “Chinos Stock”). The following table
sets forth the date(s) on which the Filer acquired such ownership or otherwise has ownership of
such Chinos Stock in an amount sufficient for the Filer to qualify as a Majority Stockholder:

    Number of           Date(s)           Number of               Date(s)          Number of             Date(s)
    Shares of          Acquired           Shares of              Acquired          Shares of            Acquired
    Common                                 Class A                                  Class B
      Stock                               Preferred                                Preferred
                                            Stock                                    Stock



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
     Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
     Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
     International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
     (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
     Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
     headquarters and service address is 225 Liberty St., New York, NY 10281.
2
     Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
     Procedures attached to the Interim Order as Exhibit 1.




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                                   (Attach additional pages if necessary.)

                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                                  Respectfully submitted,


                                                  [Name of Filer]

                                                  By:
                                                  Name:

                                                  Address:


                                                  Telephone:
                                                  Facsimile:
                                                  Date: _________________________




                                                     2
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                                              Exhibit 6

                               Form of Worthless Stock Deduction Notice




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

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                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

    DECLARATION OF INTENT TO CLAIM A WORTHLESS STOCK DEDUCTION

                PLEASE TAKE NOTICE that, pursuant to that certain Interim Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court for the Eastern District of Virginia dated [________], 2020, Docket No.
[__] (with all exhibits thereto, the “Interim Order”), [Name of Filer] (the “Filer”) hereby provides
notice of its intention to claim a Worthless Stock Deduction 2 with respect to its Common Stock,
Class A Preferred Stock, and/or Class B Preferred Stock (a “Proposed Deduction”).

                 PLEASE TAKE FURTHER NOTICE that, if applicable, on ________ __, 20__,
the Filer filed a Declaration of Status as a Majority Stockholder with this Court.

               PLEASE TAKE FURTHER NOTICE that the Filer currently beneficially owns ___
shares of Common Stock, ___ shares of Class A Preferred Stock, and/or ___ shares of Class B
Preferred Stock.

                 PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Deduction,
the Filer proposes to claim a Worthless Stock Deduction with respect to ___ shares of Common
Stock, ___ shares of Class A Preferred Stock, and/or ___ shares of Class B Preferred Stock
(collectively, the “Chinos Stock”). If the Proposed Deduction is permitted to occur, the Filer will
be treated as having acquired ___ shares of Chinos Stock on the first day of the Filer’s next taxable

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.


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year and shall be treated as never having owned such Chinos Stock during any prior year for the
purposes of testing whether an Ownership Change has occurred.

                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.

                 PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer
hereby declares that it has examined this Declaration and accompanying attachments (if any), and,
to the best of its knowledge and belief, this Declaration and any attachments which purport to be
part of this Declaration are true, correct, and complete.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                              Respectfully submitted,


                                              [Name of Filer]

                                              By:
                                              Name:

                                              Address:


                                              Telephone:
                                              Facsimile:


                                              Date: _____________________




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                                             Exhibit 7

                                      Final Publication Notice




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ATTENTION DIRECT AND INDIRECT HOLDERS OF, AND PROSPECTIVE
HOLDERS OF, STOCK ISSUED BY CHINOS HOLDINGS, INC. OR ITS AFFILIATED
COMPANIES:

Upon the motion (the “Motion”) of Chinos Holdings, Inc. (“Chinos”) and its affiliated companies
(the “Debtors”), on May 4, 2020, the United States Bankruptcy Court for the Eastern District of
Virginia (the “Bankruptcy Court”), having jurisdiction over the chapter 11 cases of the Debtors,
captioned as In re Chinos Holdings, Inc., et al., No. ____ (__) (the “Chapter 11 Cases”), entered
an interim order establishing procedures (the “Procedures”) with respect to transfers of beneficial
ownership of common stock, Class A preferred stock, and Class B preferred stock issued by Chinos
(collectively, the “Chinos Stock”), including options to acquire beneficial ownership of Chinos
Stock, and certain claims of worthless stock deductions and scheduling a hearing on a final order
with respect to such Procedures.

In certain circumstances, the Procedures restrict (i) transactions involving, and require notices of
the holdings of and proposed transactions by, any person, group of persons, or entity that is or, as
a result of such a transaction, would become a Substantial Stockholder of the Chinos Stock and
(ii) claims by any Majority Stockholder of a worthless stock deduction under section 165(g) of the
Internal Revenue Code with respect to the Chinos Stock. For purposes of the Procedures, a
“Substantial Stockholder” is any person or entity (within the meaning of applicable regulations
promulgated by the U.S. Department of the Treasury, including certain persons making a
coordinated acquisition of stock) that beneficially owns, directly or indirectly (and/or owns options
to acquire) at least 5,348,600 shares of the Chinos common stock (representing approximately
4.75% of all issued and outstanding shares of such common stock); or 9,600 shares of Chinos Class
A preferred stock (representing approximately 4.75% of all issued and outstanding shares of such
Class A preferred stock) or 6,000 shares of Chinos Class B preferred stock (representing
approximately 4.75% of all issued and outstanding shares of such Class B preferred stock), and a
“Majority Stockholder” is any person that would be a “50-percent shareholder” (within the
meaning of section 382(g)(4)(D) of the Internal Revenue Code) of Chinos Stock if such person
claimed a worthless stock deduction with respect to such securities. Any prohibited acquisition or
other transfer of, or claim of a worthless stock deduction with respect to, beneficial ownership
of Chinos Stock or options to acquire Chinos Stock will be null and void ab initio and may lead
to contempt, compensatory damages, punitive damages, or sanctions being imposed by the
Bankruptcy Court.

In addition, as provided in the final order, the Debtors may seek a further order of the Bankruptcy
Court, upon appropriate notice, containing additional procedures (the “Claims Procedures”) that
set forth certain future circumstances under which any person, group of persons, or entity that has
acquired, or as a result of a proposed transaction would acquire, beneficial ownership of a
substantial amount of claims against the Debtors can be required (i) to file notice of their holdings
of such claims and of such proposed transaction, which transaction may be restricted, and (ii) upon
a subsequent order of the Bankruptcy Court, after notice and hearing, to sell, by a specified date
following the confirmation of a chapter 11 plan of the Debtors, all or a portion of such claims
acquired during the Chapter 11 Cases.




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The Procedures, as approved on an interim basis and as requested on a final basis, inclusive of
the Claims Procedures, are available on the website of Omni Agent Solutions, the Debtors’
Bankruptcy Court-approved claims agent, located at www.omniagentsolutions.com/chinos, and
on the docket of the Chapter 11 Cases, Docket No. _____, which can be accessed via PACER at
https://www.pacer.gov.

        PLEASE TAKE NOTICE that the final hearing on the Motion shall be held on
____________, 2020, at _____ (Eastern Time), and any objections or responses to the Motion
shall be in writing, filed with the Bankruptcy Court, and served upon (i) proposed counsel for the
Debtors: Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153
(Attn: Ray C. Schrock, P.C., Ryan P. Dahl, Esq., Candace M. Arthur, Esq., and Daniel Gwen,
Esq.); (ii) proposed co-counsel for the Debtors: Hunton Andrews Kurth LLP, Riverfront Plaza,
East Tower, 951 East Byrd Street, Richmond, Virginia 23219 (Attn: Tyler P. Brown, Esq., Henry
P. (Toby) Long, III, Esq., and Nathan Kramer, Esq.; (iii) counsel to the DIP Agent: Milbank,
Tweed, Hadley & McCloy LLP (Attn: Dennis F. Dunne, Esq. (DDunne@milbank.com), Samuel
A. Khalil, Esq. (SKhalil@milbank.com) and Matthew A. Brod, Esq. (MBrod@milbank.com));
and (iv) the U.S. Trustee: 701 East Broad Street, Suite 4304, Richmond, VA 23219 (Attn: Kenneth
N. Whitehurst, III), in each case so as to be received no later than 4:00 p.m. (Eastern Time) on
________, 2020.

The requirements set forth in the Procedures are in addition to the requirements of Bankruptcy
Rule 3001(e) and applicable securities, corporate, and other laws and do not excuse noncompliance
therewith.

A direct or indirect holder of, or prospective holder of, stock issued by Chinos that may be
or become a Substantial Stockholder, a Majority Stockholder or a direct or indirect holder
of, or prospective holder of, a substantial amount of claims against the Debtors should
consult the Procedures.

Dated: _____________, 2020
       Richmond, Virginia

                                                              BY ORDER OF THE COURT




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                                             Exhibit B

                                       Proposed Final Order




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                  FINAL ORDER ESTABLISHING NOTIFICATION
             PROCEDURES AND APPROVING RESTRICTIONS ON
      CERTAIN TRANSFERS OF INTERESTS IN, AND CLAIMS AGAINST, THE
     DEBTORS AND CLAIMS OF CERTAIN WORTHLESS STOCK DEDUCTIONS

                  Upon the motion (the “Motion”) 2 of Chinos Holdings, Inc. (“Chinos”) and its

debtor affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

(collectively, the “Debtors”), for a final order (a) authorizing the Debtors to establish procedures

to protect the potential value of the Debtors’ federal consolidated net operating losses (the

“NOLs”), carryforwards of disallowed business interest expense, carryforwards of unused general

business credits, and other tax benefits (collectively, the “Tax Attributes”) for use in connection

with the reorganization of the Debtors and in future periods, and (b) granting related relief,

pursuant to sections 105(a) and 362 of title 11 of the United States Code (the “Bankruptcy



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
    in the Motion.


                                                         2

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Code”), all as more fully set forth in the Motion; and the Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334; and the

Standing Order of Reference from the United States District Court for the Eastern District of

Virginia, dated July 10, 1984; and consideration of the Motion and the requested relief being a

core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant

to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided to

the Notice Parties, and it appearing that no other or further notice need be provided; and the Court

having held one or more hearings to consider the relief requested in the Motion; and upon the First

Day Declaration and the records of the hearings on the Motion and all of the proceedings had

before this Court; and all objections to the Motion having been withdrawn, resolved, or overruled;

and the Court having determined that the legal and factual bases set forth in the Motion establish

just cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor.

                  IT IS HEREBY ORDERED THAT:

                  1.       The Motion is granted on a final basis to the extent set forth herein.

                  2.       The provisions of this Final Order shall be effective as of the Petition Date.

                  3.       The Debtors’ Tax Attributes are property of the Debtors’ estates pursuant

to section 541 of the Bankruptcy Code and are protected by section 362(a) of the Bankruptcy Code.

                  4.       The restrictions, notification requirements, and other procedures annexed

hereto as Section A of Exhibit 1 (the “Stock Procedures”) are hereby approved and shall apply

to all trading and transfers of, and claiming a Worthless Stock Deduction with respect to, beneficial

ownership of Chinos Stock or Options to acquire Chinos Stock; provided that, the Debtors may,




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in their sole discretion, waive, in writing, any and all restrictions, stays, and notification procedures

set forth in the Stock Procedures.

                  5.       Any direct or indirect transfer of Chinos Stock (including indirectly or

through the issuance or transfer of Options to acquire beneficial ownership of Chinos Stock) and/or

any Worthless Stock Deduction claim with respect to beneficial ownership of Chinos Stock

(including indirect ownership of, and Options to acquire, beneficial ownership of Chinos Stock)

in violation of the Stock Procedures shall be null and void ab initio as an act in violation of the

automatic stay under section 362 of the Bankruptcy Code and pursuant to this Court’s equitable

powers under section 105(a) of the Bankruptcy Code.

                  6.       Any person or Entity that acquires, disposes of, or trades beneficial

ownership of Chinos Stock (including indirectly or through the issuance or transfer of Options to

acquire Chinos Stock) in violation of this Final Order or the Stock Procedures or that otherwise

fails to comply with their requirements, including with respect to claiming a Worthless Stock

Deduction, shall be subject to such sanctions as this Court may consider appropriate pursuant to

the Court’s equitable power under section 105(a) of the Bankruptcy Code.

                  7.       The Debtors may seek a further order of this Court, upon appropriate notice,

containing certain restrictions, notification requirements, and other procedures with respect to

Claims against the Debtors, which the Debtors assert will be substantially in the form annexed

hereto as Section B of Exhibit 1 (the “Claims Procedures” and together with the Stock

Procedures, the “Procedures”), that may be imposed by the Debtors upon subsequent order of this

Court (the “Claims Procedures Order”) in connection with a 382(l)(5) Plan (as defined in the

Claims Procedures).




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                  8.       If the Court enters a Claims Procedures Order as described in the preceding

paragraph, the Claims Procedures shall apply as of the Petition Date and, accordingly, to all

transfers of Claims from and after the Petition Date.

                  9.       Subject to entry of, and the terms provided in, the Claims Procedures Order,

any person (including any Entity, as defined therein) that has acquired or acquires beneficial

ownership of certain Claims against the Debtors after the Petition Date and that, as of a date

specified in accordance with the Claims Procedures following (or in anticipation of) the filing of

the 382(l)(5) Plan, owns Claims (together with any other interests) that would entitle such person

to receive at least 4.75% of New Stock (as defined in the Claims Procedures) under the 382(l)(5)

Plan, shall be subject to, among other things, (i) certain notification requirements and (ii) the sell-

down process, all as more fully set forth in the Claims Procedures.

                  10.      The Notice of Final Order (defined below) is hereby determined to be

adequate and sufficient so that, if this Court enters a Claims Procedures Order, each person that

has acquired or acquires beneficial ownership of Claims after the Petition Date and would own at

least 4.75% of New Stock under the 382(l)(5) Plan can be required to (i) sell all or a portion of

such claims in accordance with the Claims Procedures, and (ii) otherwise comply with the Claims

Procedures.

                  11.      The notices substantially in the forms annexed hereto as Exhibit 2, Exhibit

3, Exhibit 4, Exhibit 5, Exhibit 6, Exhibit 7, Exhibit 8, and Exhibit 9 are hereby approved.

                  12.      Within five (5) business days of the entry of this Final Order, the Debtors

shall send the notice of this Final Order (the “Notice of Final Order”) annexed hereto as Exhibit

10 to all parties that were served with notice of the Motion, publish the Notice of Final Order once

in the national edition of The New York Times, and post the Procedures to the website established




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by the Debtors’ proposed claims agent for their chapter 11 cases, Omni Agent Solutions for these

chapter 11 cases (which website address shall be identified in the Notice of Final Order), such

notice being reasonably calculated to provide notice to all parties that may be affected by the

Procedures, whether known or unknown, and no further notice of the Procedures shall be

necessary.

                  13.      The relief granted in this Final Order is intended solely to permit the Debtors

to protect, preserve, and maximize the value of their Tax Attributes; accordingly, other than to the

extent that this Final Order expressly conditions or restricts trading in interests in, or Claims

against, the Debtors, or making Worthless Stock Deduction claims with respect to interests in the

Debtors, nothing in this Final Order or in the Motion shall, or shall be deemed to, prejudice, impair,

or otherwise alter or affect the rights of any holders of interests in the Debtors, including in

connection with the treatment of any such interests under any chapter 11 plan of reorganization or

any applicable court order.

                  14.      Nothing herein shall preclude any person or Entity desirous of purchasing

or transferring beneficial ownership of Chinos Stock (including Options to acquire Chinos Stock)

or Claims against the Debtors, and/or claiming a Worthless Stock Deduction with respect to Chinos

Stock, from requesting relief from this Final Order from this Court, subject to the Debtors’ rights

to oppose such relief; provided, however, that prior to entry of a Claims Procedures Order, nothing

in this order restricts in any way the transfer of any Claim against the Debtors.

                  15.      The entry of this Order shall in no way be deemed a determination that entry

of a Sell-Down Notice is necessary or warranted in this chapter 11 cases, and this Court’s review

of any future request for entry of a Sell-Down Notice shall be without regard to the entry of this

Order.




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                  16.      The entry of this Order shall in no way prejudice the rights of any party to

oppose the entry of a Sell-Down Notice, on any grounds, and all such rights are expressly preserved

hereby.

                  17.      Notwithstanding entry of this Final Order, nothing herein shall create, nor

is intended to create, any rights in favor of or enhance the status of any claim held by, any party.

                  18.      The requirements set forth in this Final Order are in addition to the

requirements of Bankruptcy Rule 3001(e) and applicable securities, corporate and other laws and

do not excuse noncompliance therewith.

                  19.      This Final Order shall be immediately effective and enforceable upon its

entry.

                  20.      The requirement under Local Bankruptcy Rule 9013-1(G) to file a

memorandum of law in connection with the Motion is waived.

                  21.      The Debtors are authorized to take all action necessary to effectuate the

relief granted in this Final Order.

                  22.      The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Final Order.


Dated:                             , 2020
          Richmond, Virginia


                                                  UNITED STATES BANKRUPTCY JUDGE




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                                             Exhibit 1
                                            Procedures




                                                1

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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

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                                                             :
In re                                                        :         Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :         Case No. 20–________
                                                             :
                                    Debtors. 1               :         (Jointly Administered)
                                                             :
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           NOTICES, RESTRICTIONS, AND PROCEDURES REGARDING
     OWNERSHIP AND TRANSFERS OF INTERESTS IN, AND CLAIMS AGAINST,
    THE DEBTORS AND CLAIMS OF CERTAIN WORTHLESS STOCK DEDUCTIONS

TO ALL PERSONS OR ENTITIES WITH EQUITY INTERESTS IN THE DEBTORS:

Pursuant to that certain Final Order Establishing Notification Procedures and Approving

Restrictions on Certain Transfers of Interests in, and Claims Against, the Debtors and Claims of

Certain Worthless Stock Deductions (the “Final Order”) of the United States Bankruptcy Court

for the Eastern District of Virginia (the “Bankruptcy Court”) entered on _________, 2020,

Docket No. [____], the following restrictions, notification requirements, and/or other procedures

(collectively, the “Procedures”) apply to all trading and transfers of beneficial ownership of

Chinos Stock (including indirectly or through the issuance or transfer of Options to acquire

beneficial ownership of Chinos Stock), all claims of worthless stock deductions with respect to

beneficial ownership of Chinos Stock (including indirect ownership of, and Options to acquire,


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
     Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
     Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
     International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
     (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
     Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
     headquarters and service address is 225 Liberty St., New York, NY 10281.


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beneficial ownership of Chinos Stock), and, if implemented by the Bankruptcy Court with a

Claims Procedures Order (as defined below), trading and transfers of Claims against the Debtors. 2

A.       Chinos Stock Restrictions

      i.      Definitions. For purposes of these Procedures applicable to stock (the “Stock
Procedures”), the following terms have the following meanings:

                 1.     “Entity” has the meaning as such term is defined in section 1.382-3(a) of
title 26 of the Code of Federal Regulations (the “Treasury Regulations”), including any group of
persons acting pursuant to a formal or informal understanding among themselves to make a
coordinated acquisition of Chinos Stock (as defined below).

               2.    “Common Stock” shall mean any common stock issued by Chinos
Holdings, Inc. (“Chinos”).

                  3.       “Class A Preferred Stock” shall mean Class A preferred stock issued by
Chinos.

                  4.       “Class B Preferred Stock” shall mean Class B preferred stock issued by
Chinos.

                5.      “Option” shall mean any contingent purchase, warrant, convertible debt,
put, stock subject to risk of forfeiture, contract to acquire stock, or similar interest regardless of
whether it is contingent or otherwise not currently exercisable.

               6.      “Chinos Stock” shall mean, collectively, Common Stock, Class A
Preferred Stock, and Class B Preferred Stock. For the avoidance of doubt, by operation of the
definition of beneficial ownership, an owner of an Option to acquire beneficial ownership of
Chinos Stock may be treated as the owner of such Chinos Stock.

                7.      “Beneficial ownership” of Chinos Stock and Options to acquire Chinos
Stock shall be determined in accordance with applicable rules under section 382 of the title 26 of
the United States Code (the “Tax Code”), the Treasury Regulations, and rulings issued by the
Internal Revenue Service (the “IRS”), and, thus, to the extent provided in those sources, from time
to time shall include, without limitation, (i) direct and indirect ownership, determined without
regard to any rule that treats stock of an entity as to which the constructive ownership rules apply
as no longer owned by that entity (e.g., a holding company would be considered to beneficially
own all stock owned or acquired by its subsidiaries), (ii) ownership by a holder’s family members,
(iii) ownership by any Entity, and (iv) to the extent set forth in Treasury Regulations section 1.382-
4, the ownership of an Option to acquire beneficial ownership of Chinos Stock.


2
     Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
     Motion of Debtors for Entry of Interim and Final Orders Establishing Notification Procedures and Approving
     Restrictions on Certain Transfers of Interests in, and Claims Against, the Debtors and Claims of Certain
     Worthless Stock Deductions [Docket No. [●]] (the “Motion”).


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                8.     “Substantial Stockholder” shall mean any person or Entity that
beneficially owns at least 5,348,600 shares of Common Stock (representing approximately 4.75%
of all issued and outstanding shares of Common Stock), 9,600 shares of Class A Preferred Stock
(representing approximately 4.75% of all issued and outstanding shares of Class A Preferred
Stock), or 6,000 shares of Class B Preferred Stock (representing approximately 4.75% of all issued
and outstanding shares of Class B Preferred Stock).

               9.      “Majority Stockholder” shall mean any person that would be a “50-
percent shareholder” (within the meaning of section 382(g)(4)(D) of the Tax Code) of Chinos
Stock if such person claimed a Worthless Stock Deduction at any time on or after the Petition Date.

              10.     “Worthless Stock Deduction” shall mean any claim (for U.S. federal
income tax reporting purposes) of a worthless stock deduction under section 165(g) of the Tax
Code with respect to beneficial ownership of Chinos Stock.

       ii.      Notice of Substantial Ownership. Any person or Entity that beneficially owns, at
any time on or after the Petition Date, Chinos Stock in an amount sufficient to qualify such person
or Entity as a Substantial Stockholder shall file with the Bankruptcy Court, and serve upon (i) the
225 Liberty Street, 17th Floor, New York, NY 10281 (Attn: Maria Di Lorenzo); (ii) counsel for
the Debtors, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York 10153 (Attn:
Ray C. Schrock, P.C.; Ryan P. Dahl, Esq.; Candace M. Arthur, Esq. and Daniel Gwen, Esq.); (iii)
co-counsel for the Debtors: Hunton Andrews Kurth LLP, Riverfront Plaza, East Tower, 951 East
Byrd Street, Richmond, Virginia 23219 (Attn: Tyler P. Brown, Esq., Henry P. (Toby) Long, III,
Esq., and Nathan Kramer, Esq.); (iv) counsel to any statutory committee of unsecured creditors
appointed in these cases (a “Creditors’ Committee”); (v) counsel to the Ad Hoc Committee,
Milbank LLP (Attn: Dennis F. Dunne, Esq. (DDunne@milbank.com), Samuel A. Khalil, Esq.
(SKhalil@milbank.com) and Matthew A. Brod, Esq. (MBrod@milbank.com)); and (vi) counsel
to the Sponsors (collectively, the “Disclosure Parties”) a notice of such person’s or Entity’s
substantial ownership (a “Substantial Stock Ownership Notice”), in substantially the form
annexed to the Proposed Orders as Exhibit 2, which describes specifically and in detail such
person’s or Entity’s ownership of Chinos Stock, on or before the date that is the later of (x) twenty
(20) calendar days after the entry of an order granting the relief requested in the Motion, and (y) ten
(10) business days after such person or Entity qualifies as a Substantial Stockholder. At the
election of the Substantial Stockholder, the Substantial Stock Ownership Notice to be filed with
the Bankruptcy Court (but not the Substantial Stock Ownership Notice that is served upon the
Debtors and counsel and co-counsel to the Debtors) may be redacted to exclude the Substantial
Stockholder’s taxpayer identification number and the amount of Chinos Stock that the Substantial
Stockholder beneficially owns.

      iii.     Acquisition of Chinos Stock. At least fifteen (15) business days prior to the
proposed date of any transfer of Chinos Stock (including indirectly or through the issuance or
transfer of Options to acquire Chinos Stock) or exercise of any Option to acquire Chinos Stock
that would result in an increase in the amount of Chinos Stock beneficially owned by any person
or Entity that currently is or, as a result of the proposed transaction, would be a Substantial
Stockholder (a “Proposed Acquisition Transaction”), such person or Entity (a “Proposed
Transferee”) shall file with the Bankruptcy Court and serve upon the Disclosure Parties a notice
of such Proposed Transferee’s intent to purchase, acquire, or otherwise accumulate Chinos Stock

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and/or Options to acquire Chinos Stock (an “Acquisition Notice”), in substantially the form
annexed to the Proposed Orders as Exhibit 3, which describes specifically and in detail the
Proposed Acquisition Transaction. At the election of the Proposed Transferee, the Acquisition
Notice to be filed with the Bankruptcy Court (but not the Acquisition Notice that is served upon
the Debtors and counsel and co-counsel to the Debtors) may be redacted to exclude the Proposed
Transferee’s taxpayer identification number and the amount of Chinos Stock that the Proposed
Transferee beneficially owns.

       iv.      Disposition of Chinos Stock. At least fifteen (15) business days prior to the
proposed date of any transfer or other disposition of Chinos Stock (including indirectly or through
the issuance or transfer of Options to acquire Chinos Stock) that would result in either a decrease
in the amount of Chinos Stock beneficially owned by a Substantial Stockholder or a person’s or
Entity’s ceasing to be a Substantial Stockholder (a “Proposed Disposition Transaction” and,
together with a Proposed Acquisition Transaction, a “Proposed Transaction”), such person,
Entity, or Substantial Stockholder (a “Proposed Transferor”) shall file with the Bankruptcy Court
and serve upon the Disclosure Parties a notice of such Proposed Transferor’s intent to sell, trade,
or otherwise transfer Chinos Stock or Options to acquire Chinos Stock (a “Disposition Notice”
and, together with an Acquisition Notice, a “Trading Notice”), in substantially the form annexed
to the Proposed Orders as Exhibit 4, which describes specifically and in detail the Proposed
Disposition Transaction. At the election of the Substantial Stockholder, the Disposition Notice to
be filed with the Bankruptcy Court (but not the Disposition Notice that is served upon the Debtors
and counsel and co-counsel to the Debtors) may be redacted to exclude the Substantial
Stockholder’s taxpayer identification number and the amount of Chinos Stock that the Substantial
Stockholder beneficially owns.

       v.      Notice of Status as a Majority Stockholder. Any person or Entity that currently is
or becomes a Majority Stockholder shall file with the Bankruptcy Court and serve upon the
Disclosure Parties a notice of such status (a “Majority Stockholder Notice”), in substantially the
form annexed to the Proposed Orders as Exhibit 5, which describes specifically and in detail such
person’s beneficial ownership of Chinos Stock, on or before the date that is the later of (x) twenty
(20) calendar days after the entry of an order granting the relief requested in the Motion and (y)
ten (10) business days after such person qualifies as a Majority Stockholder. At the election of the
Majority Stockholder, the Majority Stockholder Notice to be filed with the Bankruptcy Court (but
not the Majority Stockholder Notice that is served upon the Debtors and counsel and co-counsel
to the Debtors) may be redacted to exclude the Majority Stockholder’s taxpayer identification
number.

      vi.       Notice of Intent to Claim a Worthless Stock Deduction. At least fifteen (15)
business days before a Majority Stockholder files any federal income tax return, or any amendment
to such a return, claiming a Worthless Stock Deduction for a tax year of the Majority Stockholder
ending on or before the effective date of a chapter 11 plan of reorganization for the Debtors, such
Majority Stockholder shall file with the Bankruptcy Court and serve upon the Disclosure Parties
advanced written notice of the intended Worthless Stock Deduction (a “Worthless Stock
Deduction Notice”), in substantially the form annexed to the Proposed Orders as Exhibit 6. At
the election of the Majority Stockholder, the Worthless Stock Deduction Notice to be filed with
the Bankruptcy Court (but not the Worthless Stock Deduction Notice that is served upon the


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Debtors and counsel and co-counsel to the Debtors) may be redacted to exclude the Majority
Stockholder’s taxpayer identification number.

      vii.     Objection Procedures. The Debtors, in reasonable consultation with the Ad Hoc
Committee, shall have fifteen (15) business days after the filing of a Trading Notice or a Worthless
Stock Deduction Notice (the “Objection Period”) to file with the Bankruptcy Court and serve on
a Proposed Transferee or a Proposed Transferor, as the case may be, or a Majority Stockholder, as
applicable, an objection (each, an “Objection”) to any Proposed Transaction described in such
Trading Notice or any Worthless Stock Deduction described in such Worthless Stock Deduction
Notice; provided that the Objection Period and date of any Proposed Transaction or deduction
shall be extended with the consent of the Proposed Transferee, Proposed Transferor, or Majority
Stockholder, such consent not to be unreasonably withheld, conditioned, or delayed. If, after
reasonable consultation with the Ad Hoc Committee, the Debtors file an Objection by the
expiration of the Objection Period including any extension thereof (the “Objection Deadline”),
then the applicable Proposed Transaction or Worthless Stock Deduction shall not be effective
unless approved by a final and nonappealable order of the Bankruptcy Court. If, after reasonable
consultation with the Ad Hoc Committee, the Debtors do not file an Objection by the Objection
Deadline or provide written authorization to the Proposed Transferee or the Proposed Transferor,
as the case may be, or the Majority Stockholder, as applicable, approving the Proposed Transaction
or the Worthless Stock Deduction prior to the Objection Deadline, then such Proposed Transaction
or Worthless Stock Deduction may proceed solely as specifically described in the applicable
Trading Notice or Worthless Stock Deduction Notice. Any further Proposed Transaction or
Worthless Stock Deduction must be the subject of an additional Trading Notice or Worthless Stock
Deduction Notice and Objection Period.

     viii.      Noncompliance with the Stock Procedures. Any acquisition, disposition, or trading
of, or claim of Worthless Stock Deduction with respect to, beneficial ownership of Chinos Stock
or Options to acquire Chinos Stock in violation of these Stock Procedures shall be null and void
ab initio as an act in violation of the automatic stay under section 362 of the Bankruptcy Code and
pursuant to the Bankruptcy Court’s equitable powers under section 105(a) of the Bankruptcy Code.
In the event that a Majority Stockholder claims a Worthless Stock Deduction in violation of these
Stock Procedures, such holder shall be required to file an amended federal income tax return
revoking such deduction. Furthermore, any person or Entity that acquires, disposes of, trades, or
claims a Worthless Stock Deduction with respect to beneficial ownership of Chinos Stock or
Options to acquire Chinos Stock in violation of these Stock Procedures shall be subject to sanctions
as provided by law.

      ix.      Debtors’ Right to Waive. The Debtors may, in their sole discretion, waive, in
writing, any and all restrictions, stays, and notification Stock Procedures contained in this Notice.

B.       Claims Restrictions

     i.       Definitions. For purposes of these Procedures applicable to Claims (the “Claims
Procedures”), the following terms have the following meanings:

               1.          “Post-Emergence Chinos” means the reorganized Debtors or any
successor thereto.


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               2.       “New Stock” means the common stock and any other equity securities
(including securities that are treated as equity securities for U.S. federal income tax purposes) of
Post-Emergence Chinos, including Options to acquire beneficial ownership of New Stock.

                 3.     “Entity” has the meaning as such term is defined in section 1.382-3(a) of
title 26 of the Code of Federal Regulations (the “Treasury Regulations”), including any group of
persons acting pursuant to a formal or informal understanding among themselves to make a
coordinated acquisition of Claims or New Stock.

               4.     A “Claim” means any claim, as defined in section 101(5) of the Bankruptcy
Code, against any of the Debtors arising out of or relating to the period prior to the Petition Date,
whether secured or unsecured (which, for the avoidance of doubt, excludes, any claims under or
in connection with any proposed debtor in possession financing facility (a “DIP Loan”)).

                5.      An “Option” includes any contingent purchase, warrant, convertible debt,
put, stock subject to risk of forfeiture, contract to acquire stock, or similar interest, regardless of
whether it is contingent or otherwise not currently exercisable.

               6.     A “Section 382(l)(5) Plan” means a plan of reorganization (a “Plan”) or
amended Plan that (i) indicates the Debtors contemplate or (ii) otherwise allows for the use of
section 382(l)(5) of the Tax Code by a reorganized debtor to obtain certain incremental tax
benefits.

                 7.     “Beneficial ownership” of a Claim (as hereinafter defined) shall be
determined in accordance with applicable rules under section 382 of the Tax Code, the Treasury
Regulations, and rulings issued by the IRS and as described herein (for such purpose, a Claim is
treated as if it were stock) and, thus, to the extent provided in those sources, from time to time,
shall include, without limitation, (A) direct and indirect ownership (but determined without regard
to any rule that treats stock of an entity as to which the constructive ownership rules apply as no
longer owned by that entity), e.g., a holding company would be considered to beneficially own all
Claims owned or acquired by its subsidiaries, (B) ownership by a holder’s family members, (C)
ownership by any Entity, and (D) to the extent set forth in Treasury Regulations section 1.382-4,
the ownership of an Option (irrespective of the purpose for which such Option was issued, created,
or acquired) to acquire beneficial ownership of Chinos Stock.

                   a. For the avoidance of doubt, beneficial ownership of a Claim also includes
the beneficial ownership of any right to receive any equity consideration to be distributed in respect
of a Claim pursuant to a Plan or any applicable Bankruptcy Court order.

               8.     “Threshold Amount” means an amount of Claims that could result in such
holder of Claims holding the Applicable Percentage of New Stock.

              9.     A “Substantial Claimholder” means any person or Entity that beneficially
owns an aggregate dollar amount of Claims against the Debtors, or any Entity controlled by such
person through which such person beneficially owns Claims against the Debtors, of more than the
Threshold Amount (which, for the avoidance of doubt, excludes, any claims under or in connection
with any DIP Loan).


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        For the avoidance of doubt, section 382 of the Tax Code, the Treasury Regulations, and all
relevant IRS and judicial authority shall apply in determining whether the Claims of several
persons and/or Entities must be aggregated when testing for a person’s (including an Entity’s)
status as a Substantial Claimholder (for such purpose, a Claim is treated as if it were stock).

                10.    “Applicable Percentage” means, if only one class of New Stock is to be
issued pursuant to the terms of a Section 382(l)(5) Plan and holders within each class of Claims
receiving New Stock will receive a pro rata distribution of the New Stock, 4.75% of the number
of shares of New Stock that the Debtors reasonably estimate will be outstanding immediately after
the effective date of such Section 382(l)(5) Plan, as determined for U.S. federal income tax
purposes. If more than one class of New Stock is to be distributed pursuant to the terms of a
Section 382(l)(5) Plan or if holders within a class of Claims may receive a disproportionate
distribution of New Stock relative to other holders in the same class, the Applicable Percentage
shall be determined by the Debtors in their reasonable judgment in a manner consistent with the
estimated range of values for the equity to be distributed (as reflected in the valuation analysis set
forth in the Section 382(l)(5) Plan and disclosure statement) and shall be expressed in a manner
that makes clear the number of shares or other interests in each class of New Stock that would
constitute the Applicable Percentage.

                11.    “Holdings Report” means a Notice of Substantial Claim Ownership (as
hereinafter defined) received by the Debtors with respect to the Determination Date.

               12.     “Maximum Amount” means the maximum amount of Claims (by class or
other applicable classification of Claims) that may be held, as of the effective date of the Section
382(l)(5) Plan, by a Substantial Claimholder that was a Substantial Claimholder as of the
Determination Date, which the Debtors shall calculate as follows:

                  a. Based upon the information provided by the Substantial Claimholders in the
Holdings Reports, the Debtors shall calculate the aggregate amount of Claims that all such
Substantial Claimholders must sell as a group for the Debtors to utilize the relief set forth in section
382(l)(5) of the Tax Code in connection with the Section 382(l)(5) Plan (the “Sell-Down
Amount”);

                   b. The Debtors shall calculate for each Substantial Claimholder the amount of
such Substantial Claimholder’s pro rata share of the Sell-Down Amount (i.e., the Sell-Down
Amount multiplied by a fraction, (x) the numerator of which is the excess, if any, of the amount
of Claims identified in such Substantial Claimholder’s Holdings Report over the greater of (A) the
applicable Threshold Amount and (B) the Protected Amount for such Substantial Claimholder,
and (y) the denominator of which is the sum of the numerators computed for all Substantial
Claimholders; and

                  c. For each such Substantial Claimholder, the Debtors shall subtract from the
total Claims held by such Substantial Claimholder (as reported in the Holdings Report) such
Substantial Claimholder’s pro rata share of the Sell-Down Amount. The result shall be the
Maximum Amount.




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               13.    “Newly Traded Claims” means Claims (i) with respect to which a person
or Entity acquired beneficial ownership after the date that was eighteen (18) months prior to the
Petition Date and (ii) that are not “ordinary course” Claims, within the meaning of Treasury
Regulations section 1.382-9(d)(2)(iv), of which the same person or Entity always has had
beneficial ownership.

               14.    A “Permitted Transferee” with respect to a Substantial Claimholder is a
person or Entity whose holding of a Claim would not result in such Substantial Claimholder having
beneficial ownership of such Claim.

                15.     “Protected Amount” means the amount of Claims (by class or other
applicable classification) of which a holder had beneficial ownership on the Petition Date plus the
amount of Claims of which such holder acquires, directly or indirectly, beneficial ownership
pursuant to trades entered into prior to the Petition Date, but that had not yet closed as of the
Petition Date, and the amount of Claims of which such holder acquires, directly or indirectly,
beneficial ownership pursuant to trades entered into after the Petition Date that have been approved
by the Debtors in accordance with these Claims Procedures minus the amount of Claims of which
such holder sells, directly or indirectly, beneficial ownership pursuant to trades entered into prior
to the Petition Date, but that had not yet closed as of the Petition Date. For the avoidance of doubt,
there shall be included in the Protected Amount of a claimant that is an insurer under an insurance
policy, a guarantor or an issuer of a letter of credit or similar security arrangement as described in
Treasury Regulations section 1.382-9(d)(5)(ii)(G) on the Petition Date, any Claims transferred to
such claimant pursuant to a subrogation under such insurance policy or such guarantee, letter of
credit or similar security arrangement on or after the Petition Date (without the need for any prior
approval by the Debtors), so long as such transfer is not for a principal purpose of obtaining New
Stock or permitting the transferee to benefit from the losses of the Debtors within the meaning of
Treasury Regulations section 1.382-9(d)(5)(iii).

      ii.     Disclosure with respect to Section 382(l)(5). If the Debtors determine that the
reorganized Debtors likely could qualify for and benefit from the application of section 382(l)(5)
of the Tax Code and reasonably anticipate that Post-Emergence Chinos will invoke such section,
then the Debtors shall disclose the following in a disclosure statement (the “Proposed 382(l)(5)
Disclosure Statement”):

               1.      Adequate information about the incremental tax benefits anticipated to be
realized through the use of section 382(l)(5) of the Tax Code that, taking into account the Debtors’
anticipated net unrealized built-in gains or net unrealized built-in losses, would not otherwise be
available;

                2.     A summary of any restrictions expected to be imposed on the transferability
of securities issued under the Section 382(l)(5) Plan in order to preserve such incremental tax
benefits;

              3.     The dollar amount of Claims (by class or other applicable classification)
expected to result in a one-percent (1%) interest in New Stock based upon then-available
information;



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               4.      A specified date (the “Determination Date”) that is not less than ten (10)
calendar days after the service of the notice of the hearing with respect to the Proposed 382(l)(5)
Disclosure Statement; and

              5.      A specified date (the “Reporting Deadline”) that is not less than five (5)
calendar days after the Determination Date, by which persons (including Entities, which for
purposes of the Claims Procedures also includes an “entity” within the meaning of Treasury
Regulations section 1.382-3(a)) must serve on the Disclosure Parties the notice required by these
Claims Procedures (the “Notice of Substantial Claim Ownership”).

     iii.         Notice of Substantial Claim Ownership.

               1.      Any person or Entity that beneficially owns more than a specified amount
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of Claims that (based on the applicable information set forth in the Proposed 382(l)(5) Disclosure
Statement) could result in such holder of Claims holding the Applicable Percentage of New Stock
as of the Determination Date, shall serve upon the Disclosure Parties a Notice of Substantial Claim
Ownership, in substantially the form annexed to the Final Order as Exhibit 7 (or as adjusted and
annexed to the Proposed 382(l)(5) Disclosure Statement) on or before the Reporting Deadline. A
person or Entity that is required to file a Notice of Substantial Claim Ownership may or may not
be a Substantial Claimholder. The standard for a person’s or Entity’s being required to file a
Notice of Substantial Claim Ownership is different than the definition of a Substantial
Claimholder. At the election of the Substantial Claimholder, the Notice of Substantial Claim
Ownership to be filed with the Bankruptcy Court (but not the Notice of Substantial Claim
Ownership that is served upon the Debtors and counsel and co-counsel to the Debtors) may be
redacted to exclude the Substantial Claimholder’s taxpayer identification number.

                 2.      In order to assist in determining their eligibility to avail themselves of the
relief set forth in section 382(l)(5) of the Tax Code, the Debtors may request 4 from any person or
Entity that beneficially owns more than a specified amount of Claims (which may be expressed by
class or type of Claim(s), if applicable) that could result in such holder of Claims holding the
Applicable Percentage of New Stock, as of the date specified in such request, information
regarding its beneficial ownership of Claims prior to the filing of the Proposed 382(l)(5) Disclosure
Statement, in a manner consistent with these Claims Procedures.

                3.     Any person or Entity that fails to comply with its notification obligations
set forth in these Claims Procedures shall, in addition to the consequences set forth in paragraph
B(v)(7) below, be subject to such remedy as the Bankruptcy Court may find appropriate upon
motion by the Debtors, after service of the motion upon such person and a hearing on the motion
in accordance with the Federal Rules of Bankruptcy Procedure, including, without limitation,
ordering such noncompliant person or Entity to divest itself promptly of beneficial ownership of
Claims to the extent of such person’s or Entity’s ownership of an Excess Amount (as defined

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    This “specified amount” is to be reasonably established by the Debtors, taking into account the terms of the
    Section 382(l)(5) Plan, and disclosed in the Proposed 382(l)(5) Disclosure Statement. The “specified amount”
    may be expressed by class or type of Claim(s), if applicable.
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    For purposes of making this determination, such request shall include information comparable to the information
    that would be required in a Proposed 382(l)(5) Disclosure Statement pursuant to these Procedures.


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herein) and imposing monetary damages for any costs reasonably incurred by the Debtors that
were caused by the violation and enforcement of this paragraph.

      iv.         Claims Trading Before and After the Determination Date.

               1.     Any person or Entity generally may trade freely and make a market in
Claims until the Determination Date.

                2.      After the Determination Date, any acquisition of Claims by a person or
Entity that filed or was required to file a Notice of Substantial Claim Ownership or by a person or
Entity that would be required to file a Notice of Substantial Claim Ownership as a result of the
consummation of the contemplated transaction if the proposed acquisition date had been the
Determination Date (each such person, a “Proposed Claims Transferee”) shall not be effective
unless consummated in compliance with these Claims Procedures.

                3.     At least twenty (20) business days prior to the proposed date of any
acquisition of Claims by a Proposed Claims Transferee (such acquisition, a “Proposed Claims
Acquisition Transaction”), such Proposed Claims Transferee shall serve upon the Disclosure
Parties a notice of such Proposed Claims Transferee’s request to purchase, acquire, or otherwise
accumulate a Claim (a “Claims Acquisition Request”), in substantially the form annexed to the
Final Order as Exhibit 8, which describes specifically and in detail the Proposed Claims
Acquisition Transaction, regardless of whether such transfer would be subject to the filing, notice,
and hearing requirements set forth in Bankruptcy Rule 3001. At the election of the Substantial
Claimholder, the Claims Acquisition Request to be filed with the Bankruptcy Court (but not the
Claims Acquisition Request that is served upon the Debtors and counsel and co-counsel to the
Debtors) may be redacted to exclude the Substantial Claimholder’s taxpayer identification number.

               4.      The Debtors may determine whether to approve a Claims Acquisition
Request. If the Debtors do not approve a Claims Acquisition Request in writing within ten (10)
business days after the Claims Acquisition Request is filed with the Bankruptcy Court, the Claims
Acquisition Request shall be deemed rejected.

      v.          Creditor Conduct and Sell-Downs.

               1.      To permit reliance by the Debtors on Treasury Regulations section 1.382-
9(d)(3), upon implementation of the Claims Procedures by a subsequent order of the Bankruptcy
Court (a “Claims Procedures Order”), any Substantial Claimholder that participated in
formulating any chapter 11 plan of or on behalf of the Debtors (which shall include, without
limitation, making any suggestions or proposals to the Debtors or their advisors with regard to
such a plan) shall not disclose or otherwise make evident to the Debtors that any Claims in which
such Substantial Claimholder has beneficial ownership are Newly Traded Claims, unless
compelled to do so by an order of a court of competent jurisdiction or some other applicable legal
requirement, provided, however, that the following activities shall not constitute participation in
formulating a chapter 11 plan if, in pursuing such activities, the Substantial Claimholder does not
disclose or otherwise make evident (unless compelled to do so by an order of a court of competent
jurisdiction or some other applicable legal requirement) to the Debtors that such Substantial
Claimholder has beneficial ownership of Newly Traded Claims: filing an objection to a proposed


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disclosure statement or to confirmation of a proposed chapter 11 plan; voting to accept or reject a
proposed chapter 11 plan; reviewing or commenting on a proposed business plan; providing
information on a confidential basis to counsel to the Debtors; holding general membership on an
official committee or an ad hoc committee (including the Ad Hoc Committee); or taking any action
required by an order of the Bankruptcy Court.

               2.       Following the Determination Date, if the Debtors determine that Substantial
Claimholders must sell or transfer all or a portion of their beneficial ownership of Claims so that
the requirements of section 382(l)(5) of the Tax Code will be satisfied, the Debtors may file a
motion with the Bankruptcy Court for entry of an order—after notice to counsel to the Disclosure
Parties and the relevant Substantial Claimholder(s) and a hearing—approving the issuance of a
notice (a “Sell-Down Notice”) that such Substantial Claimholder must sell, cause to sell, or
otherwise transfer a specified amount of its beneficial ownership of Claims (by class or other
applicable classification) equal to the excess of (x) the amount of Claims beneficially owned by
such Substantial Claimholder over (y) the Maximum Amount for such Substantial Claimholder
(such excess amount, an “Excess Amount”). The motion shall be heard on expedited basis such
that the Bankruptcy Court can render a decision on the motion at or before the hearing on
confirmation of the Section 382(l)(5) Plan. If the Bankruptcy Court approves the Debtors’ motion
for the issuance of a Sell-Down Notice, the Debtors shall provide the Sell-Down Notice to the
relevant Substantial Claimholder(s).

                 3.     Notwithstanding anything to the contrary in these Claims Procedures, no
Substantial Claimholder shall be required to sell, cause to sell, or otherwise transfer beneficial
ownership of Claims if such sale or transfer would result in the Substantial Claimholder’s
beneficial ownership of an aggregate amount of Claims (by class or other applicable classification)
that is less than such Substantial Claimholder’s Protected Amount.

                4.     Each Sell-Down Notice shall direct the Substantial Claimholder to sell,
cause to sell, or otherwise transfer its beneficial ownership of the amount of Claims specified in
the Sell-Down Notice to Permitted Transferees (each sale or transfer, a “Sell-Down”), provided,
however, that such Substantial Claimholder shall not have a reasonable basis to believe that any
such Permitted Transferee would own, immediately after the contemplated transfer, an Excess
Amount of Claims and provided, further, that a Substantial Claimholder that has properly notified
the Permitted Transferee of its Claims under these Claims Procedures shall not be treated as having
such reasonable basis in the absence of notification or actual knowledge that such Permitted
Transferee would own, after the transfer, an Excess Amount of Claims.

                5.      By the date that is the later of (i) five (5) business days after the entry of an
order confirming the Section 382(l)(5) Plan and (ii) such other date specified in the Sell-Down
Notice, as applicable, but before the effective date of the Section 382(l)(5) Plan (the “Sell-Down
Date”), each Substantial Claimholder subject to a Sell-Down Notice shall, as a condition to
receiving New Stock, serve upon the Disclosure Parties a notice substantially in the form annexed
to the Final Order as Exhibit 9 that such Substantial Claimholder has complied with the terms and
conditions set forth in these Claims Procedures and that such Substantial Claimholder does not
and will not hold an Excess Amount of Claims as of the Sell-Down Date and at all times through
the effective date of the Section 382(l)(5) Plan (each, a “Notice of Compliance”). Any Substantial
Claimholder who fails to comply with this provision shall not receive New Stock with respect to

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any Excess Amount of Claims. At the election of the Substantial Claimholder, the Notice of
Compliance to be filed with the Bankruptcy Court (but not the Notice of Compliance that is served
upon the Debtors and counsel and co-counsel to the Debtors) may be redacted to exclude the
Substantial Claimholder’s taxpayer identification number.

               6.       Other than information that is public or in connection with an audit or other
investigation by the IRS or other taxing authority, the Debtors shall keep all Notices of Compliance
and any additional information provided by a Substantial Claimholder pursuant to these Claims
Procedures (the “Confidential Information”) strictly confidential and shall not disclose the
Confidential Information to any other person or Entity, provided, however, that the Debtors may
disclose the identity of the Substantial Claimholder to its counsel and professional financial
advisors, counsel to and the professional financial advisors to the Ad Hoc Committee, counsel to
and the professional financial advisors of any official committee or the DIP Agent, and of any
other person(s) that are subject to a nondisclosure agreement with the Debtors, each of whom shall
keep all Confidential Information strictly confidential, subject to further order of the Bankruptcy
Court, and provided, further, that to the extent the Debtors reasonably determine such Confidential
Information is necessary to demonstrate to the Bankruptcy Court the need for the issuance of a
Sell-Down Notice, such Confidential Information (determined by, among other things, whether
such information was redacted in any public filing) shall be filed with the Bankruptcy Court under
seal.

                7.     Any person or Entity that violates its obligations under these Claims
Procedures shall, pursuant to these Claims Procedures, be precluded from receiving, directly or
indirectly, any consideration consisting of beneficial ownership of New Stock that is attributable
to the Excess Amount of Claims for such person, including any consideration in lieu thereof,
provided, however, that such person may be entitled to receive any other consideration to which
such person may be entitled by virtue of holding Claims (this provision, the “Equity Forfeiture
Provision”). Any purported acquisition of, or other increase in the beneficial ownership of, New
Stock that is precluded by the Equity Forfeiture Provision will be an acquisition of “Forfeited
Equity.” Any acquirer of Forfeited Equity shall, promptly upon becoming aware of such fact,
return or cause to return the Forfeited Equity to the Debtors (or any successor to the Debtors,
including Post-Emergence Chinos) or, if all of the equity consideration properly issued to such
acquirer and all or any portion of such Forfeited Equity have been sold prior to the time such
acquirer becomes aware of such fact, such acquirer shall return or cause to return to the Debtors
(or any successor to the Debtors, including Post-Emergence Chinos) (i) any Forfeited Equity still
held by such acquirer and (ii) the proceeds attributable to the sale of Forfeited Equity, calculated
by treating the most recently sold equity as Forfeited Equity. Any acquirer that receives Forfeited
Equity and deliberately fails to comply with the preceding sentence shall be subject to such
additional sanctions as the Bankruptcy Court may determine. Any Forfeited Equity returned to
the Debtors, including Post-Emergence Chinos, shall be distributed (including a transfer to charity)
or extinguished, in the Debtors’ sole discretion, in furtherance of the Section 382(l)(5) Plan.

               8.       In effecting any sale or other transfer of Claims pursuant to a Sell-Down
Notice, a Substantial Claimholder shall, to the extent that it is reasonably feasible to do so within
the normal constraints of the market in which such sale takes place, notify the acquirer of such
Claims of the existence of these Claims Procedures and the Equity Forfeiture Provision (it being
understood that, in all cases in which there is direct communication between a salesperson and a

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customer, including, without limitation, communication via telephone, e-mail, and instant
messaging, the existence of these Claims Procedures and the Equity Forfeiture Provision shall be
included in such salesperson’s summary of the transaction).

      vi.         Exceptions.

               1.      No person or Entity shall be subject to the approval provisions of paragraph
B(iv)(2)–(4) above or, in the case of Claims that are part of the transferor’s Protected Amount, the
sell-down provisions of paragraph B(v) above with respect to any transfer described in Treasury
Regulations section 1.382-9(d)(5)(ii) so long as such transfer is not for a principal purpose of
obtaining New Stock or permitting the transferee to benefit from the losses of the Debtors within
the meaning of Treasury Regulations section 1.382-9(d)(5)(iii), provided, however, that any such
transferee who becomes a Substantial Claimholder following the filing of a Proposed 382(l)(5)
Disclosure Statement shall serve upon the Disclosure Parties a notice of such status, substantially
in the form annexed to the Final Order as Exhibit 7, as provided in these Claims Procedures.

                 2.     For the avoidance of doubt, the trustee of any trust, any indenture trustee,
subordination agent, registrar, paying agent, transfer agent, loan or collateral agent, or any other
entity serving in a similar capacity however designated, in each case for any Claim notes, bonds,
debentures, property, or other debt securities or obligations (collectively, the “Debt Securities”)
(i) issued by any of the Debtors, (ii) secured by assets of any of the Debtors or agreements with
respect to such assets, or (iii) secured by assets leased to any of the Debtors shall not be treated as
a Substantial Claimholder solely to the extent that such entities are acting in the capacity described
above, provided, however, that neither any transferee of Claims nor any equity or beneficial owner
of a trust shall be excluded from these Claims Procedures solely by reason of this provision.

     vii.       Noncompliance with the Claims Procedures. In the event of, and at all times
following, the effectiveness of these Claims Procedures pursuant to an order of the Bankruptcy
Court, any acquisition, disposition, or trading of Claims against the Debtors in violation of these
Procedures shall be null and void ab initio as an act in violation of the automatic stay under section
362 of the Bankruptcy Code and pursuant to the Bankruptcy Court’s equitable powers under
section 105. Furthermore, if these Claims Procedures become effective, any person acquires,
disposes of, or trades Claims against the Debtors in violation of these Claims Procedures shall be
subject to sanctions as provided by law.

   viii.       Debtors’ Right to Waive. The Debtors may, in their sole discretion, waive, in
writing, any and all restrictions, stays, and notification Claims Procedures contained in this Notice.

Dated:       Richmond, Virginia                        BY ORDER OF THE COURT
             [________], 2020




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                                              Exhibit 2

                              Form of Substantial Stock Ownership Notice




                                                 14

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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                       NOTICE OF SUBSTANTIAL STOCK OWNERSHIP

                PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court for the Eastern District of Virginia dated [________], 2020, Docket No.
[__] (with all exhibits thereto, the “Final Order”), [Name of Filer] (the “Filer”) hereby provides
notice that, as of the date hereof, the Filer beneficially owns:

           (v)      __________ shares of common stock issued by Chinos Holdings, Inc.
(“Chinos”) (the “Common Stock”),

              (vi)       __________ shares of Class A preferred stock issued by Chinos (the “Class
                         A Preferred Stock”),

             (vii)       __________ shares of Class B preferred stock issued by Chinos (the “Class
                         B Preferred Stock”), and/or

            (viii)       Options 2 to acquire __________ shares of Common Stock, __________
                         shares of Class A Preferred Stock and/or __________ shares of Class B
                         Preferred Stock,


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.


                                                         1

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                 PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
 the Filer is ______________.

                PLEASE TAKE FURTHER NOTICE that the following table sets forth the
 following information:

                 For Common Stock, Class A Preferred Stock, Class B Preferred Stock (collectively,
 “Chinos Stock”) and/or Options to acquire Chinos Stock that are owned directly by the Filer, the
 table sets forth (i) the number of such shares and/or the number of shares underlying Options to
 acquire Chinos Stock owned by such Filer and (ii) the date(s) on which such Chinos Stock and/or
 Options to acquire Chinos Stock were acquired (categorized by class, as applicable).

                In the case of Chinos Stock and/or Options to acquire Chinos Stock that are not
 owned directly by the Filer but are nonetheless beneficially owned by the Filer, the table sets forth
 (i) the name(s) of each record or legal owner of such shares of Common Stock, Class A Preferred
 Stock, Class B Preferred Stock, and/or Options to acquire Chinos Stock that are beneficially owned
 by such Filer, (ii) the number of shares of Common Stock, the number of shares of Class A
 Preferred Stock, the number of Class B Preferred Stock and/or the number of shares of Common
 Stock, Class A Preferred Stock, or Class B Preferred Stock underlying Options to acquire Chinos
 Stock beneficially owned by such Filer, and (iii) the date(s) on which such Common Stock, Class
 A Preferred Stock, Class B Preferred Stock, and/or Options to acquire Chinos Stock were acquired
 (categorized by class, as applicable).

      Class                   Name of          Shares Owned       Shares Underlying    Date(s)
                              Owner                                Options Owned      Acquired
 Common Stock

Class A Preferred
      Stock

Class B Preferred
      Stock

                                    (Attach additional pages if necessary.)

                [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
 [phone], (Attn: [name of attorney]).]




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                                              Respectfully submitted,


                                              [Name of Filer]

                                              By:
                                              Name:

                                              Address:


                                              Telephone:
                                              Facsimile:
                                              Date: _________________________




                                                 3
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                                             Exhibit 3

                                     Form of Acquisition Notice




                                                 1

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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                      NOTICE OF INTENT TO PURCHASE, ACQUIRE, OR
                        OTHERWISE ACCUMULATE CHINOS STOCK

                  PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court for the Eastern District of Virginia, dated [________], 2020, Docket No.
[__] (with all exhibits thereto, the “Final Order”), [Name of Filer] (the “Filer”) hereby provides
notice of (i) its intention to purchase, acquire, or otherwise accumulate directly one or more shares
of common stock issued by Chinos Holdings, Inc. (“Chinos”) (the “Common Stock”), Class A
preferred stock issued by Chinos (“Class A Preferred Stock”), Class B preferred stock issued by
Chinos (“Class B Preferred Stock” and together with the Common Stock and Class A Preferred
Stock, the “Chinos Stock”) and/or Options 2 to acquire Chinos Stock, and/or (ii) a proposed
purchase or acquisition of Chinos Stock and/or Options to acquire Chinos Stock that would result
in an increase in the number of shares of Chinos Stock and/or number of shares of Chinos Stock
underlying Options to acquire Chinos Stock that are beneficially owned by the Filer (any proposed
transaction described in clauses (i) or (ii), a “Proposed Transfer”).

               PLEASE TAKE FURTHER NOTICE that the following table sets forth the
following information:



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.


                                                         1

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                 1. If the Proposed Transfer involves the purchase or acquisition directly by the
  Filer of Chinos Stock and/or Options to acquire Chinos Stock, the table sets forth (i) the number
  of shares of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number
  of shares of Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying
  Options to acquire Chinos Stock proposed to be purchased or acquired and (ii) the date(s) of such
  Proposed Transfer (categorized by class, as applicable).

                   2. If the Proposed Transfer involves the purchase or acquisition of Chinos Stock
  and/or Options to acquire Chinos Stock by a person or Entity other than the Filer, but the Proposed
  Transfer nonetheless would increase the number of shares of Chinos Stock and/or number of shares
  of Chinos Stock underlying Options to acquire Chinos Stock that are beneficially owned by the
  Filer, the table sets forth (i) the name(s) of each such person or Entity that proposes to purchase or
  acquire such shares of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or
  Options to acquire Chinos Stock, (ii) the number of shares of Common Stock, Class A Preferred
  Stock, Class B Preferred Stock, and/or the number of shares of Common Stock, Class A Preferred
  Stock, or Class B Preferred Stock underlying Options to acquire Chinos Stock proposed to be
  purchased or acquired, and (iii) the date(s) of such Proposed Transfer (categorized by class, as
  applicable).

      Class               Name of         Shares to be          Shares Underlying      Date(s) of
                         Purchaser        Purchased or            Options to be        Proposed
                             or             Acquired          Purchased or Acquired    Transfer
                          Acquirer
 Common Stock

Class A Preferred
      Stock

Class B Preferred
      Stock

                                     (Attach additional page if necessary.)

                 PLEASE TAKE FURTHER NOTICE that the following table summarizes the
  Filer’s beneficial ownership of Chinos Stock and/or Options to acquire Chinos Stock assuming
  that the Proposed Transfer is approved and consummated as described above. The table sets forth,
  as of immediately following the consummation of the Proposed Transfer, the number of shares of
  Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
  Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying Options to acquire
  Chinos Stock (i) that would be owned directly by the Filer and, (ii) in the case of any beneficial
  ownership by the Filer of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or
  Options to acquire Chinos Stock that would be owned by another person or Entity as record or
  legal owner, the name(s) of each prospective record or legal owner and the number of shares of
  Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
  Common Stock, Class A Preferred Stock, Class B Preferred Stock underlying Options to acquire
  Chinos Stock that would be owned by each such record or legal owner (categorized by class, as
  applicable):


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       Class                        Name of             Shares to Be Owned      Shares Underlying
                                    Owner                                      Options to Be Owned
 Common Stock

Class A Preferred
      Stock

Class B Preferred
      Stock

                                      (Attach additional page if necessary.)

                  PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a
 purchase or acquisition of Chinos Stock and/or Options to acquire Chinos Stock directly by the
 Filer and such Proposed Transfer would result in (i) an increase in the beneficial ownership of
 Chinos Stock and/or Options to acquire Chinos Stock by a person or Entity (other than the Filer)
 that currently is a Substantial Stockholder or (ii) a person’s or Entity’s (other than the Filer)
 becoming a Substantial Stockholder, the following table sets forth (a) the name of each such person
 or Entity, (b) the number of shares of Common Stock, Class A Preferred Stock, Class B Preferred
 Stock, and/or the number of shares of Common Stock, Class A Preferred Stock, or Class B
 Preferred Stock underlying Options to acquire Chinos Stock that are beneficially owned by such
 person or Entity currently (i.e., prior to the Proposed Transfer), and (c) the number of shares of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock underlying Options to acquire
 Chinos Stock that would be beneficially owned by such person or Entity immediately following
 the Proposed Transfer (categorized by class, as applicable).

   Class             Name of              Shares            Shares         Shares           Shares
                    Beneficial            Owned          to Be Owned    Underlying        Underlying
                     Owner              Currently         Following        Options       Options to Be
                                      (i.e., Prior to      Proposed        Owned            Owned
                                        Proposed           Transfer      Currently        Following
                                         Transfer)                     (i.e., Prior to     Proposed
                                                                         Proposed          Transfer
                                                                          Transfer)
 Common
  Stock

  Class A
 Preferred
   Stock

  Class B
 Preferred
   Stock

                                      (Attach additional page if necessary.)


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                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.

                 PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer
hereby declares that it has examined this Notice and accompanying attachments (if any), and, to
the best of its knowledge and belief, this Notice and any attachments which purport to be part of
this Notice are true, correct, and complete.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                              Respectfully submitted,


                                              [Name of Filer]

                                              By:
                                              Name:

                                              Address:


                                              Telephone:
                                              Facsimile:


                                              Date: ___________________




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                                             Exhibit 4

                                     Form of Disposition Notice




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                            NOTICE OF INTENT TO SELL, TRADE,
                          OR OTHERWISE TRANSFER CHINOS STOCK

                 PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court for the Eastern District of Virginia, dated [________], 2020, Docket No.
[__] (with all exhibits thereto, the “Final Order”), [Name of Filer] (the “Filer”) hereby provides
notice of (i) its intention to sell, trade, or otherwise transfer or dispose of one or more shares of
common stock issued by Chinos Holdings, Inc. (“Chinos”) (the “Common Stock”), Class A
preferred stock issued by Chinos (“Class A Preferred Stock”), Class B preferred stock issued by
Chinos (“Class B Preferred Stock” and together with the Common Stock and Class A Preferred
Stock, the “Chinos Stock”) and/or Options 2 to acquire Chinos Stock and/or (ii) a proposed sale,
transfer, or disposition of Chinos Stock and/or Options to acquire Chinos Stock that would result
in a decrease in the number of shares of Chinos Stock and/or number of shares of Chinos Stock
underlying Options to acquire Chinos Stock that are beneficially owned by the Filer (any proposed
transaction described in clauses (i) or (ii), a “Proposed Transfer”).




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.




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               PLEASE TAKE FURTHER NOTICE that the following table sets forth the
following information:

               1. If the Proposed Transfer involves the sale, transfer, or disposition directly by the
Filer of Chinos Stock and/or Options to acquire Chinos Stock, the table sets forth (i) the number
of shares of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number
of shares of Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying
Options to acquire Chinos Stock proposed to be sold, transferred, or disposed of and (ii) the date(s)
of such Proposed Transfer (categorized by class, as applicable).

                 2. If the Proposed Transfer involves the sale, transfer or disposition of Chinos
Stock and/or Options to acquire Chinos Stock by a person or Entity other than the Filer, but the
Proposed Transfer nonetheless would decrease the number of shares of Chinos Stock and/or
number of shares of Chinos Stock underlying Options to acquire Chinos Stock that are beneficially
owned by the Filer, the table sets forth (i) the name(s) of each such person or Entity that proposes
to sell, transfer, or dispose of such Common Stock, Class A Preferred Stock, Class B Preferred
Stock, and/or Options to acquire Chinos Stock; (ii) the number of shares of Common Stock, Class
A Preferred Stock, Class B Preferred Stock, and/or the number of shares of Common Stock, Class
A Preferred Stock, or Class B Preferred Stock underlying Options to acquire Chinos Stock
proposed to be so sold, transferred, or disposed of; and (iii) the date(s) of such Proposed Transfer
(categorized by class, as applicable).

  Class             Name of           Shares to Be Sold,        Shares Underlying     Date(s) of
                   Transferor          Transferred, or          Options to Be Sold,   Proposed
                                        Disposed Of              Transferred, or      Transfer
                                                                   Disposed Of
Common
 Stock

Class A
Preferred
 Stock

 Class B
Preferred
  Stock

                                   (Attach additional page if necessary.)

               PLEASE TAKE FURTHER NOTICE that the following table summarizes the
Filer’s beneficial ownership of Chinos Stock and/or Options to acquire Chinos Stock assuming
that the Proposed Transfer is approved and consummated as described above. The table sets forth,
as of immediately following the consummation of the Proposed Transfer, the number of shares of
Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying Options to acquire
Chinos Stock (i) that would be owned directly by the Filer and, (ii) in the case of any beneficial
ownership by the Filer of Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or



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 Options to acquire Chinos Stock that would be owned by another person or Entity as record or
 legal owner, the name(s) of each prospective record or legal owner and the number of shares of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock underlying Options to acquire
 Chinos Stock that would be owned by each such record or legal owner (categorized by class, as
 applicable):

     Class                 Name of             Shares to Be Owned      Shares Underlying Options
                           Owner                                              to Be Owned
Common Stock

    Class A
Preferred Stock

    Class B
Preferred Stock

                                    (Attach additional page if necessary.)

                 PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a sale,
 transfer, or disposition of Chinos Stock and/or Options to acquire Chinos Stock directly by the
 Filer and such Proposed Transfer would result in (i) a decrease in the beneficial ownership of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or Options to acquire
 Chinos Stock by a person or Entity (other than the Filer) that currently is a Substantial Stockholder
 or (ii) a person’s or Entity’s (other than the Filer) becoming a Substantial Stockholder, the
 following table sets forth (a) the name of each such person or Entity, (b) the number of shares of
 Common Stock, Class A Preferred Stock, Class B Preferred Stock, and/or the number of shares of
 Common Stock, Class A Preferred Stock, or Class B Preferred Stock underlying Options to acquire
 Chinos Stock that are beneficially owned by such person or Entity currently (i.e., prior to the
 Proposed Transfer), and (c) the number of shares of Common Stock, Class A Preferred Stock,
 Class B Preferred Stock, and/or the number of shares of Common Stock, Class A Preferred Stock,
 Class B Preferred Stock underlying Options to acquire Chinos Stock that would be beneficially
 owned by such person or Entity immediately following the Proposed Transfer (categorized by
 class, as applicable).

  Class          Name of           Shares      Shares to Be        Shares            Shares
                Beneficial        Owned           Owned         Underlying         Underlying
                 Owner           Currently      Following      Options Owned      Options to Be
                                (i.e., Prior    Proposed       Currently (i.e.,      Owned
                               to Proposed       Transfer         Prior to         Following
                                 Transfer)                       Proposed           Proposed
                                                                 Transfer)          Transfer
Common
 Stock




                                                      3
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 Class A
Preferred
  Stock

 Class B
Preferred
  Stock

                                   (Attach additional page if necessary.)

                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.

                 PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer
hereby declares that it has examined this Notice and accompanying attachments (if any), and, to
the best of its knowledge and belief, this Notice and any attachments which purport to be part of
this Notice are true, correct, and complete.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                                  Respectfully submitted,


                                                  [Name of Filer]

                                                  By:
                                                  Name:

                                                  Address:


                                                  Telephone:
                                                  Facsimile:


                                                  Date: _____________________




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                                                Exhibit 5

                                   Form of Majority Stockholder Notice




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x


             DECLARATION OF STATUS AS A MAJORITY STOCKHOLDER

                PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court dated [________], 2020, Docket No. [__] (with all exhibits thereto, the
“Final Order”), [Name of Filer] (the “Filer”) hereby provides notice that, as of the date hereof,
the Filer is/has become a Majority Stockholder. 2

                PLEASE TAKE FURTHER NOTICE that, as of _________ ___, 2020, the Filer
beneficially owns ____ shares of Common Stock, ____ shares of Class A Preferred Stock, and/or
____ shares of Class B Preferred Stock (collectively, the “Chinos Stock”). The following table
sets forth the date(s) on which the Filer acquired such ownership or otherwise has ownership of
such Chinos Stock in an amount sufficient for the Filer to qualify as a Majority Stockholder:

      Number of            Date(s)         Number of              Date(s)       Number of            Date(s)
      Shares of           Acquired         Shares of             Acquired       Shares of           Acquired
      Common                                Class A                              Class B
        Stock                              Preferred                            Preferred
                                             Stock                                Stock


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.




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                                   (Attach additional pages if necessary.)

                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                                  Respectfully submitted,


                                                  [Name of Filer]

                                                  By:
                                                  Name:

                                                  Address:


                                                  Telephone:
                                                  Facsimile:
                                                  Date: _________________________




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                                              Exhibit 6

                               Form of Worthless Stock Deduction Notice




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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 1               :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

    DECLARATION OF INTENT TO CLAIM A WORTHLESS STOCK DEDUCTION

                PLEASE TAKE NOTICE that, pursuant to that certain Final Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Interests in, and
Claims Against, the Debtors and Claims of Certain Worthless Stock Deductions of the United
States Bankruptcy Court for the Eastern District of Virginia dated [________], 2020, Docket No.
[__] (with all exhibits thereto, the “Final Order”), [Name of Filer] (the “Filer”) hereby provides
notice of its intention to claim a Worthless Stock Deduction 2 with respect to its Common Stock,
Class A Preferred Stock, and/or Class B Preferred Stock (a “Proposed Deduction”).

                 PLEASE TAKE FURTHER NOTICE that, if applicable, on ________ __, 20__,
the Filer filed a Declaration of Status as a Majority Stockholder with this Court.

               PLEASE TAKE FURTHER NOTICE that the Filer currently beneficially owns ___
shares of Common Stock, ___ shares of Class A Preferred Stock, and/or ___ shares of Class B
Preferred Stock.

                 PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Deduction,
the Filer proposes to claim a Worthless Stock Deduction with respect to ___ shares of Common
Stock, ___ shares of Class A Preferred Stock, and/or ___ shares of Class B Preferred Stock
(collectively, the “Chinos Stock”). If the Proposed Deduction is permitted to occur, the Filer will
be treated as having acquired ___ shares of Chinos Stock on the first day of the Filer’s next taxable

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the respective meanings ascribed to such terms in the
    Procedures attached to the Interim Order as Exhibit 1.


                                                         2

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year and shall be treated as never having owned such Chinos Stock during any prior year for the
purposes of testing whether an Ownership Change has occurred.

                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.

                 PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer
hereby declares that it has examined this Declaration and accompanying attachments (if any), and,
to the best of its knowledge and belief, this Declaration and any attachments which purport to be
part of this Declaration are true, correct, and complete.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                              Respectfully submitted,


                                              [Name of Filer]

                                              By:
                                              Name:

                                              Address:


                                              Telephone:
                                              Facsimile:


                                              Date: _____________________




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                                              Exhibit 7

                            Form of Notice of Substantial Claim Ownership




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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 11              :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                       NOTICE OF SUBSTANTIAL CLAIM OWNERSHIP

               PLEASE TAKE NOTICE that, pursuant to that certain [Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Claims Against the
Debtors], dated [________], 2020, Docket No. [__] (with all exhibits thereto, the “Claims
Procedures Order”), [_____] (the “Filer”) hereby provides notice that the Filer beneficially owns
more than $[_] of Claims 2 against the Debtors that (based on the applicable information set forth
in the Proposed 382(l)(5) Disclosure Statement) could result in such holder of Claims holding the
Applicable Percentage of New Stock.

               PLEASE TAKE FURTHER NOTICE that the following table sets forth the
following information:

               In the case of Claims that are owned directly by the Filer, the table sets forth the
dollar amount of all Claims beneficially owned (as hereinafter defined) by the Filer (categorized
by class or other applicable classification).

               In the case of Claims that are not owned directly by the Filer but nonetheless are
beneficially owned by the Filer, the table sets forth (a) the name(s) of each record or legal owner
of such Claims that are beneficially owned by the Filer and (b) the dollar amount of all Claims
beneficially owned by such Filer (categorized by class or other applicable classification).


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in Exhibit 1 to the Final
    Order.




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      Class              Description of        Name of Owner                Dollar Amount Owned
                            Claim




                                   (Attach additional page if necessary.)

               PLEASE TAKE FURTHER NOTICE that the following table sets forth a summary
of the Protected Amount for each class (or other applicable classification) of Claims beneficially
owned by the Filer (whether owned by the Filer directly or indirectly) and that Filer will provide
any additional information in respect of such Claims that the Debtors reasonably request.

      Class              Description of        Name of Owner                 Protected Amount
                            Claim




                                   (Attach additional page if necessary.)

                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is _____________.

                 PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer
hereby declares that it has examined this Notice and accompanying attachments (if any) and, to
the best of its knowledge and belief, this Notice and any attachments which purport to be part of
this Notice are true, correct, and complete.

               [[IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).]

                                                  Respectfully submitted,

                                                  [Name of Filer]
                                                  By:
                                                  Name:
                                                  Address:


                                                  Telephone:
                                                  Facsimile:
                                                  Date: _____________________




                                                     2

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                                       Exhibit 8

    Form of Notice of Request to Purchase, Acquire, or Otherwise Accumulate a Claim




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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 11              :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                NOTICE OF REQUEST TO PURCHASE, ACQUIRE,
          OR OTHERWISE ACCUMULATE A CLAIM AGAINST THE DEBTOR

               PLEASE TAKE NOTICE that, pursuant to that certain [Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Claims Against the
Debtors], dated [________], 2020, Docket No. [__] (with all exhibits thereto, the “Claims
Procedures Order”), [_____] (the “Filer”) hereby provides notice of (i) its intent to purchase,
acquire, or otherwise accumulate directly a Claim 2 or Claims against the Debtors and/or (ii) a
proposed purchase or acquisition of Claims that, following the proposed acquisition, would be
beneficially owned by the Filer (any proposed transaction described in (i) or (ii), a “Proposed
Transfer”).

               PLEASE TAKE FURTHER NOTICE that, if applicable, on [_____], the Filer
served a Notice of Substantial Claim Ownership with the Debtors, counsel to the Debtors, counsel
to the Ad Hoc Committee and counsel to any Official Committee.

                  PLEASE TAKE FURTHER NOTICE that the Filer is filing this notice as (check
one):

               A person (including any Entity) that filed or was required to file a
Notice of Substantial Claim Ownership


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in Exhibit 1 to the Final
    Order.




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               A person (including any Entity) that, upon consummation of the
Proposed Transfer, would have been required to file a Notice of Substantial Claim
Ownership (if the proposed acquisition date had been the Determination Date)


               PLEASE TAKE FURTHER NOTICE that the following tables set forth the
following information:

               In the case of Claims that are owned directly by the Filer, the tables set forth the
dollar amount of all Claims beneficially owned by the Filer (categorized by class or other
applicable classification).

               In the case of Claims that are not owned directly by the Filer but nonetheless are
beneficially owned by the Filer, the tables set forth (a) the name(s) of each record or legal owner
of the Claims that are beneficially owned by the Filer, and (b) the dollar amount of all Claims
owned by the Filer (categorized by class or other applicable classification).

              The Filer will provide any additional information in respect of such Claims that the
Debtors reasonably request.

         Class                     Description of              Name of Owner          Dollar
                                      Claim                                           Amount
                                                                                      Owned




                                   (Attach additional page if necessary.)

               PLEASE TAKE FURTHER NOTICE that the following table sets forth a summary
of the Protected Amount for each class (or other applicable classification) of Claims beneficially
owned by the Filer (whether owned by the Filer directly or indirectly).

              The Filer will provide any additional information in respect of such Claims that the
Debtors reasonably request.

      Class                 Description of          Name of Owner           Protected Amount
                               Claim




                                   (Attach additional page if necessary.)

               PLEASE TAKE FURTHER NOTICE that the following table sets forth the
following information:


                                                     2

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               If the Proposed Transfer involves the purchase or acquisition of Claims directly by
the Filer, the table sets forth the dollar amount of all Claims (categorized by class or other
applicable classification) proposed to be purchased or acquired.

               If the Proposed Transfer involves the purchase or acquisition of Claims by a person
(including any Entity) other than the Filer, but the Proposed Transfer nonetheless would increase
the dollar amount of Claims that are beneficially owned by the Filer, the table sets forth (a) the
name(s) of each such person that proposes to purchase or acquire such Claims and (b) the dollar
amount of all Claims (categorized by class or other applicable classification) proposed to be
purchased or acquired.

      Class                 Description of         Name of Owner            Dollar Amount to be
                               Claim                                             Acquired




                                   (Attach additional page if necessary.)

                 PLEASE TAKE FURTHER NOTICE that if the Proposed Transfer involves a
purchase or acquisition of Claims directly by the Filer and such Proposed Transfer would result in
(a) an increase in the beneficial ownership of Claims by a person (including any Entity) (other than
the Filer) that currently is a Substantial Claimholder or (b) a person’s (other than the Filer)
becoming a Substantial Claimholder, the following tables set forth (i) the name of each such
person, (ii) the dollar amount of all Claims beneficially owned by such person currently (i.e., prior
to the Proposed Transfer) (categorized by class or other applicable classification), and (iii) the
dollar amount of all Claims that would be beneficially owned by such person immediately
following the Proposed Transfer (categorized by class or other applicable classification):

   Class           Description      Name of Owner          Dollar Amount of        Dollar Amount
                    of Claim                              Claims Beneficially      of Claims to be
                                                         Owned Currently (i.e.,      Beneficially
                                                          Prior to Proposed             Owned
                                                               Transfer)              Following
                                                                                      Proposed
                                                                                       Transfer




                                   (Attach additional page if necessary.)

                PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
the Filer is ______________.



                                                     3

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                 PLEASE TAKE FURTHER NOTICE that, under penalty of perjury, the Filer
hereby declares that it has examined this Notice and accompanying attachments (if any), and, to
the best of its knowledge and belief, this Notice and any attachments which purport to be part of
this Notice are true, correct, and complete.

                 PLEASE TAKE FURTHER NOTICE that the Filer hereby acknowledges that, if
the Debtors do not approve the Proposed Transfer in writing within ten (10) business days after
the filing of this Notice, such Proposed Transfer shall be deemed rejected. If the Debtors provide
written authorization approving the Proposed Transfer prior to the end of such ten-business-day
period, then such Proposed Transfer may proceed solely as specifically described in this Notice.

              This Notice is given in addition to, and not as a substitute for, any requisite notice
under Rule 3001(e) of the Federal Rules of Bankruptcy Procedure.

               [IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).

                                              Respectfully submitted,

                                              [Name of Filer]
                                              By:
                                              Name:
                                              Address:


                                              Telephone:
                                              Facsimile:
                                              Date: _____________________




                                                 4

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                                   Exhibit 9

                          Form of Notice of Compliance




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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–________
                                                             :
                                    Debtors. 11              :        (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                                       NOTICE OF COMPLIANCE

               PLEASE TAKE NOTICE that, pursuant to that certain [Order Establishing
Notification Procedures and Approving Restrictions on Certain Transfers of Claims Against the
Debtors], dated [________], 2020, Docket No. [__] (with all exhibits thereto, the “Claims
Procedures Order”), [_____] (the “Filer”) hereby provides notice that Filer has complied in full
with the terms and conditions set forth in the Claims Procedures Order and as further set forth in
the Sell-Down Notice 2 issued to Filer, such that Filer does not and will not beneficially own an
Excess Amount of Claims as of the Sell-Down Date and at all times through the effective date of
the Section 382(l)(5) Plan.

               PLEASE TAKE FURTHER NOTICE that the taxpayer identification number of
Filer is ______________.




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
    Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
    Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
    International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
    (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
    Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
    headquarters and service address is 225 Liberty St., New York, NY 10281.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in Exhibit 1 to the Final
    Order.




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               [IF APPLICABLE:] The Filer is represented by [name of law firm], [address],
[phone], (Attn: [name of attorney]).

                                              Respectfully submitted,

                                              [Name of Filer]
                                              By:
                                              Name:
                                              Address:


                                              Telephone:
                                              Facsimile:
                                              Date: _____________________




                                                 2

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                                  Exhibit 10

                            Final Publication Notice




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ATTENTION DIRECT AND INDIRECT HOLDERS OF, AND PROSPECTIVE
HOLDERS OF, STOCK ISSUED BY CHINOS HOLDINGS, INC. OR ITS AFFILIATED
COMPANIES:

Upon the motion (the “Motion”) of Chinos Holdings, Inc. (“Chinos”) and its affiliated companies
(the “Debtors”), on [____________, 2020], the United States Bankruptcy Court for the Eastern
District of Virginia (the “Bankruptcy Court”), having jurisdiction over the chapter 11 cases of
the Debtors, captioned as In re Chinos Holdings, Inc., et al., No. ____ (__) (the “Chapter 11
Cases”), entered a final order establishing procedures (the “Procedures”) with respect to transfers
of beneficial ownership of common stock, Class A preferred stock, and Class B preferred stock
issued by Chinos (collectively, the “Chinos Stock”), including options to acquire beneficial
ownership of Chinos Stock, and certain claims of worthless stock deductions.

In certain circumstances, the Procedures restrict (i) transactions involving, and require notices of
the holdings of and proposed transactions by, any person, group of persons, or entity that is or, as
a result of such a transaction, would become a Substantial Stockholder of the Chinos Stock and
(ii) claims by any Majority Stockholder of a worthless stock deduction under section 165(g) of the
Internal Revenue Code with respect to the Chinos Stock. For purposes of the Procedures, a
“Substantial Stockholder” is any person or entity (within the meaning of applicable regulations
promulgated by the U.S. Department of the Treasury, including certain persons making a
coordinated acquisition of stock) that beneficially owns, directly or indirectly (and/or owns options
to acquire) at least 5,348,600 shares of the Chinos common stock (representing approximately
4.75% of all issued and outstanding shares of such common stock); or 9,600 shares of Chinos Class
A preferred stock (representing approximately 4.75% of all issued and outstanding shares of such
Class A preferred stock) or 6,000 shares of Chinos Class B preferred stock (representing
approximately 4.75% of all issued and outstanding shares of such Class B preferred stock), and a
“Majority Stockholder” is any person that would be a “50-percent shareholder” (within the
meaning of section 382(g)(4)(D) of the Internal Revenue Code) of Chinos Stock if such person
claimed a worthless stock deduction with respect to such securities. Any prohibited acquisition
or other transfer of, or claim of a worthless stock deduction with respect to, beneficial ownership
of Chinos Stock or options to acquire Chinos Stock will be null and void ab initio and may lead
to contempt, compensatory damages, punitive damages, or sanctions being imposed by the
Bankruptcy Court.

        In addition, the Debtors may seek a further order of the Bankruptcy Court, upon appropriate
notice, containing additional procedures (the “Claims Procedures”) that set forth certain
circumstances under which any person, group of persons, or entity that has acquired, or as a result
of a proposed transaction would acquire, beneficial ownership of a substantial amount of claims
against the Debtors can be required (i) to file notice of their holdings of such claims and of such
proposed transaction, which transaction may be restricted, and (ii) upon a subsequent order of the
Bankruptcy Court, after notice and hearing, to sell, by a specified date following the confirmation
of a chapter 11 plan of the Debtors, all or a portion of such claims acquired during the Chapter 11
Cases. Any acquisition or transfer of claims against the Debtors in violation of the Claims
Procedures after implementation would be null and void ab initio and may lead to sanctions being
imposed by the Bankruptcy Court




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The Procedures are available on the website of Omni Agent Solutions, the Debtors’ Bankruptcy
Court-approved claims agent, located at www.omniagentsolutions.com/chinos, and on the
docket of the Chapter 11 Cases, Docket No. _____, which can be accessed via PACER at
https://www.pacer.gov.

The requirements set forth in the Procedures are in addition to the requirements of Bankruptcy
Rule 3001(e) and applicable securities, corporate, and other laws and do not excuse noncompliance
therewith.

A direct or indirect holder of, or prospective holder of, stock issued by Chinos that may be
or become a Substantial Stockholder, a Majority Stockholder or a direct or indirect holder
of, or prospective holder of, a substantial amount of claims against the Debtors should
consult the Procedures.

Dated: Richmond, Virginia BY ORDER OF THE COURT
       _____________, 2020




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